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                                  STATE OF MICHIGAN
                      CIRCUIT COURT FOR THE 30TH JUDICIAL CIRCUIT
                                   INGHAM COUNTY

 THE STATE OF MICHIGAN, GOVERNOR OF
 THE STATE OF MICHIGAN, and MICHIGAN
 DEPARTMENT OF NATURAL RESOURCES,

        Plaintiffs,                                  Case No. 20-646-CE
 v.                                                  Hon. James S. Jamo

 ENBRIDGE ENERGY, LIMITED PARTNERSHIP,
 ENBRIDGE ENERGY COMPANY, INC., and
 ENBRIDGE ENERGY PARTNERS, L.P.,

       Defendants.
 ______________________________________________________________________________

                       NOTICE OF FILING OF NOTICE OF REMOVAL

                            [CAPTION CONTINUED ON NEXT PAGE]

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  Daniel P. Bock (P71246)                     David H. Coburn
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                                          (313) 223-3866

                                          Attorneys for Defendants
 ______________________________________________________________________________
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        PLEASE TAKE NOTICE that on November 24, 2020, Defendants filed a notice to remove

 the above-captioned matter in the United States District Court for the Western District of

 Michigan. A copy of the Notice of Removal is attached as Exhibit A and has been served on

 Plaintiffs, thus effecting removal pursuant to 28 U.S.C. § 1446(d) (“Promptly after the filing of

 such notice of removal of a civil action the defendant or defendants shall give written notice thereof

 to all adverse parties and shall file a copy of the notice with the clerk of such State court, which

 shall effect the removal and the State court shall proceed no further unless and until the case is

 remanded.”).

                                                    Respectfully submitted,

  STEPTOE & JOHNSON LLP                             DICKINSON WRIGHT PLLC
  David H. Coburn
  William T. Hassler                                     /s/ Peter H. Ellsworth
  Alice Loughran                                    By: _______________________________
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                                                        Attorneys for Defendants
 Dated: November 24, 2020
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                Exhibit A
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

                                                    )
     THE STATE OF MICHIGAN,                         )
     GOVERNOR OF THE STATE OF                       )
     MICHIGAN, and MICHIGAN                         )
     DEPARTMENT OF NATURAL                          )      Case No.
     RESOURCES,                                     )
                                                    )      Hon.
                           Plaintiffs,              )
                                                    )
     v.                                             )
                                                    )
     ENBRIDGE ENERGY, LIMITED                       )
     PARTNERSHIP, ENBRIDGE ENERGY                   )
     COMPANY, INC., and ENBRIDGE                    )
     ENERGY PARTNERS, L.P,                          )
                                                    )
                           Defendants.              )
                                                    )
                                                    )
                                                    )

                                   NOTICE OF REMOVAL

           PLEASE TAKE NOTICE THAT Defendants Enbridge Energy, Limited

    Partnership, Enbridge Energy Company, Inc., and Enbridge Energy Partners, L.P.

    (collectively, “Enbridge”), hereby remove this action from the Circuit Court for the 30th

    Judicial Circuit, Ingham County, Case No. 20-646, to the United States District Court for

    the Western District of Michigan pursuant to 28 U.S.C. § 1331, 1441(a), 1442, and 1367.

           This Court has original federal question jurisdiction under 28 U.S.C. §1331,

    because the Complaint arises under federal laws and treaties, and it presents substantial

    federal questions. This Court has supplemental jurisdiction under 28 U.S.C. § 1367(a) over

    any claims for which it does not have original federal question jurisdiction because those

    claims form part of the same case or controversy as the claims over which the Court has

    original jurisdiction. While the Plaintiffs include the State of Michigan and one of its

    agencies, the Eleventh Amendment does not bar removal to federal court of a suit initiated
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    by the State. See Oklahoma ex rel. Edmondson v. Magnolia Marine Transp. Co., 359 F.3d

    1237, 1239 (10th Cir. 2004) (“[T]he Eleventh Amendment's abrogation of federal judicial

    power ‘over any suit ... commenced or prosecuted against one of the United States' does

    not apply to suits commenced or prosecuted by a State.”); California ex rel. Lockyer v.

    Dynegy, 375 F.3d 831, 847-48 (9th Cir. 2004) (same); In re Katrina Canal Litigation

    Breaches, 524 F.3d 700, 710-11 (5th Cir. 2008).

            Though nominally asserted under state law, the Complaint seeks to shut down an

    Enbridge interstate pipeline that has been serving the energy needs of multiple states and

    parts of Canada for over 65 years. Pipelines such as the one at issue are classic channels

    of interstate commerce. As the Complaint acknowledges, this pipeline (known as Line 5)

    traverses multiple states, including Michigan, and also crosses the U.S.-Canadian border.

    Complaint ¶ 10. Despite the dominant federal interests, Plaintiffs ask a Michigan state

    court to shut down operations on a 4-mile portion of Line 5 located in the Straits of

    Mackinac. Such a shutdown order would prevent Enbridge from continuing to serve the

    energy needs of customers in other parts of this country and in Canada. Plaintiffs’ claims

    interfere with exclusive federal spheres of regulating interstate and foreign commerce;

    implicate duties imposed by federal statutes and regulations governing pipeline safety;

    frustrate the federal interest in ensuring the interstate and international transport of

    petroleum products; and impede treaty agreements between the United States and Canada.

    Accordingly, Plaintiffs’ Complaint is properly heard in this federal forum to protect the

    national interests.




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    I.     Timeliness of removal

           1.      Plaintiffs filed a Complaint against Enbridge in the Circuit Court for 30th

    Judicial Circuit, Ingham County, No. 20-646, on November 13, 2020. A copy of the

    Complaint is attached as Exhibit A to this notice.

           2.      This notice of removal is timely under 28 U.S.C. § 1446(b) because it is

    filed fewer than 30 days after receipt by Enbridge of a copy of the initial pleading setting

    forth the claims for relief upon which this action is based. 28 U.S.C. § 1446(b). All

    defendants consent to removal.

    II.    Summary of allegations and grounds for removal

           3.      Plaintiffs brought claims against Enbridge for alleged noncompliance with

    an easement issued in 1953. This easement granted Enbridge the right “to construct, lay,

    maintain, use and operate” two 20-inch diameter pipelines for the purpose of transporting

    petroleum and other products, “over, through, under, and upon” specifically described

    bottomlands owned by the State of Michigan in the Straits of Mackinac. Complaint ¶ 15.

    Enbridge completed the construction of Line 5 in 1953. This pipeline “extends from

    Superior, Wisconsin, across the Upper Peninsula of Michigan, crosses the Straits of

    Mackinac through the Straits Pipelines portion of Line 5, and continues through the Lower

    Peninsula to Marysville, Michigan and then crosses beneath the St. Clair River to Sarnia,

    Ontario, Canada.” Complaint ¶ 10.

           4.      On November 13, 2020, plaintiffs issued a Notice of Revocation and

    Termination of Easement (hereafter “Shutdown Order”).          Complaint ¶ 21.     In their

    Complaint, Plaintiffs seek declaratory relief that the Shutdown Order is proper and also




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    seek injunctive relief requiring Enbridge to cease operating a 4-mile portion of Line 5

    located in the Straits of Mackinac within 180 days. Plaintiffs assert three claims in their

    Complaint: the State properly revoked the 1953 Easement because it violates the public

    trust (Count I); the State properly terminated the 1953 Easement because of Enbridge’s

    alleged non-compliance with the terms and conditions (Count II); and the State properly

    determined that the December 2018 Third Agreement between Enbridge and the State and

    two of its agencies does not preclude the revocation and termination of the 1953 Easement

    (Count III).

           5.      Enbridge bears the burden of demonstrating that removal jurisdiction is

    proper. But because district courts have supplemental jurisdiction over related claims, 28

    U.S.C. § 1367(a), Enbridge need only show that there is federal jurisdiction over a single

    claim. See Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 563 (2005).

           6.      Enbridge submits that removal is proper on at least two independent and

    alternative grounds.

           7.      First, removal is authorized under 28 U.S.C. §1441(a) and 28 U.S.C. §1331

    because the action necessarily raises disputed and substantial federal questions that a

    federal forum may entertain without disturbing a congressionally approved balance of

    responsibilities between the federal and state judiciaries. See Grable & Sons Metal Prods.,

    Inc. v. Darue Eng’g & Mfg., 545 U.S. 308 (2005). In fact, the causes of action as alleged

    in the Complaint threaten to upset longstanding federal-state relations, second-guess policy

    decisions made by Congress and the Executive Branch, and skew divisions of

    responsibility set forth in federal statutes and the United States Constitution. Additionally,

    the action necessarily raises disputed and substantial federal questions that implicate the




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    federal regulatory scheme for pipeline safety. See 49 U.S.C. §§ 60101, et seq.; see also

    Grable, 545 U.S. at 314.

            8.      Second, Enbridge is authorized to remove this action under 28 U.S.C.

    §1442(a)(1) because it was “acting under” the regulations and directives of a federal

    agency; there is a causal nexus between Enbridge’s actions in managing the pipelines at

    issue under federal safety standards and the Plaintiffs’ claims that the pipelines should be

    closed because they pose a safety risk (i.e., the risk of an oil spill); and Enbridge will assert

    colorable federal defenses. See Ripley v. Foster Wheeler LLC, 841 F.3d 207, 209–10 (4th

    Cir. 2016).

            9.      For the convenience of the Court and all parties, Enbridge will address each

    of these grounds in additional detail below. Should Plaintiffs challenge this Court’s

    jurisdiction, Enbridge will further elaborate on these grounds and will not be limited to the

    specific articulations in this Notice.

    III.    The action is removable because it raises disputed and substantial federal
            issues

            10.     “Except as otherwise expressly provided by Act of Congress, any civil

    action brought in a State court of which the district courts of the United States have original

    jurisdiction, may be removed . . . to the district court of the United States for the district

    and division embracing the place where such action is pending.” 28 U.S.C. § 1441(a).

    Federal district courts, in turn, “have original jurisdiction of all civil actions arising under

    the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331. The U.S.

    Supreme Court has “recognized for nearly 100 years that in certain federal cases federal-

    question jurisdiction will lie over state-law claims that implicate significant federal issues.”

    Grable, 545 U.S. at 312.



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           11.     In Grable, the Court held that suits apparently alleging only state-law causes

    of action nevertheless “arise under” federal law if the “state-law claim[s] necessarily raise

    a stated federal issue, actually disputed and substantial, which a federal forum may

    entertain without disturbing any congressionally approved balance of federal and state

    judicial responsibilities.” Grable, 545 U.S. at 314. Applying this test “calls for a common-

    sense accommodation of judgment to the kaleidoscopic situations that present a federal

    issue” and thus “justify resort to the experience, solicitude, and hope of uniformity that a

    federal forum offers on federal issues.” Id. at 313.

           12.     Here, Plaintiffs’ claims raise multiple “federal issues, actually disputed and

    substantial,” for which federal jurisdiction would not upset “any congressionally approved

    balance of federal and state judicial responsibilities.” Id.at 314. The federal issues are

    substantial and include federal regulatory authority over interstate and foreign commerce,

    foreign affairs, energy policy, environmental protection, and the safety of interstate

    pipelines. Any one of these issues suffices to satisfy the Grable standard.

           13.     For example, Plaintiffs’ claims raise substantial federal issues because they

    have far “more than [an] incidental effect on foreign affairs[.]” Am. Ins. Assoc. v.

    Garamendi, 539 U.S. 396, 424 (2003). As Plaintiffs admit, Line 5 crosses the U.S.-Canada

    border. Complaint ¶ 10. Line 5’s crossing of the international boundary is federally

    authorized by a Presidential Permit issued to Enbridge for Line 5 on April 28, 1953 to

    facilitate foreign commerce. The United States and Canada have entered into a Senate-

    ratified treaty intended to promote the flow of commerce between the two nations and

    remove undue barriers to pipelines that transport hydrocarbons between the nations. The

    Canada-United States Transit Pipelines Treaty of 1977 provides: “No public authority …




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    shall institute any measures … [which] have the effect of, impeding, diverting, redirecting

    or interfering with in any way the transmission of hydrocarbon in transit” from one nation

    to the other through pipelines. Article II(1). Another relevant international agreement is

    the Energy Regulatory Measures and Regulatory Transparency Annex to the 2020 United

    States-Mexico-Canada Agreement, which states: “Each party shall … accord[ ] access to

    … pipeline networks for the purposes of importation … that is neither unduly

    discriminatory nor unduly preferential ….” Article 5(1)(a).

            14.     Plaintiffs’ Shutdown Order undermines these international agreements and

    severely infringes upon the foreign policy decisions that are squarely in the purview of the

    political branches of the U.S. Government. Because Plaintiffs’ claims implicate the

    “exercise of state power that touches on foreign relations” in a significant way, any state

    law basis “must yield to the National Government’s policy, given the ‘concern for

    uniformity in this country’s dealings with foreign nationals’ that animated the

    Constitution’s allocation of the foreign relations power to the National Government in the

    first place.” Garamendi, 539 U.S. at 413 (invalidating California’s statutory effort to

    encourage Holocaust reparations by European insurance carriers); Crosby v. Nat’l Foreign

    Trade Council, 530 U.S. 363, 374-80 (2000) (striking down Massachusetts law barring

    state entities from transacting with companies doing business in Burma); Al Shimari v.

    CACI Int’l, Inc., 679 F.3d 205, 231 (4th Cir. 2012) (“[T]he federal government has

    exclusive power over foreign affairs, and ... states have very little authority in this area.”).

            15.     Congress has already weighed, and continues to weigh, the costs and

    benefits of pipeline transportation. Congress has acted through a variety of federal

    statutes—primarily, but not exclusively, the Pipeline Safety Act—to ensure pipeline safety




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    and strike the balance between pipeline transportation and environmental protections. 49

    U.S.C. § 60102(b). Under the Pipeline Safety Act, a federal agency known as the Pipeline

    and Hazardous Materials Safety Administration (“PHMSA”), which is part of the US

    Department of Transportation, is assigned responsibility for regulating the safety of

    interstate pipelines, and does so through detailed safety regulations and enforcement

    activities. Congress included in the Pipeline Safety Act a section entitled “Preemption,”

    which provides: “A State authority may not adopt or continue in force safety standards for

    interstate pipeline facilities or interstate pipeline transportation.” 49 U.S.C. § 60104(c).

    The need for preemption of state law stems from the fact that pipelines move through and

    serve multiple states.   This broad preemption provision—which explicitly bars the

    continued enforcement of any state-imposed safety standards in place at the time of

    enactment—reflects Congress’ intent to ensure that the national pipeline infrastructure is

    free of a patchwork of local safety regulations and is not at the mercy of any state’s

    parochial interests. See, e.g., Olympic Pipe Line Co v. City of Seattle, 437 F3d 872, 880

    (9th Cir. 2006) (stating that “federal preemption of the regulation of interstate pipeline

    safety is manifest in the language of the PSA [Pipeline Safety Act]”); Kinley Corp. v. Iowa

    Utils. Bd., 999 F.2d 354, 358 (8th Cir. 1993) (“we need look no further than the express

    statutory language” to find that Congress intended to preempt state regulation of pipeline

    safety); Williams v. City of Mounds, 651 F. Supp. 551, 569 (D. Minn. 1987) (concluding

    that if landowners of land crossed by an interstate pipeline were “entitled to demand

    compliance with their own safety standards, the clear Congressional goal of a national

    standard for hazardous liquid pipeline safety [under the PSA] would be thwarted”).




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           16.     Even where the State has ownership of the submerged bottomlands,

    Congress made this ownership subject to federal regulation. The federal Submerged Lands

    Act of 1953 (SLA), transferred to the States “title to and ownership of the lands beneath

    navigable waters within the boundaries of the respective states, and the natural resources

    within such lands and waters and [ ] the right and power to manage, administer, lease,

    develop, and use the said lands and natural resources.” 43 USC § 1311(a). The SLA,

    however, expressly retains on behalf of the Federal Government “all its … rights in and

    powers of regulation and control of said lands and navigable waters for the constitutional

    purposes of commerce, navigation, national defense, and international affairs … all of

    which shall be paramount to” the State’s ownership interest. 43 U.S.C. § 1314(a). Thus,

    the Pipeline Safety Act and PHMSA regulations fully apply to pipelines that are located in

    navigable waters, consistent with Congress’ intent that such federal laws be “paramount”

    to whatever interest may arise from the State’s ownership of the bottomlands on which the

    pipelines are located.

           17.     The congressional directives have regulatory teeth.         As directed by

    Congress, PHMSA has promulgated an extensive body of federal safety regulations that

    govern the construction and operation of pipelines like the one at issue here.          See

    Transportation of Hazardous Liquids by Pipeline, 49 C.F.R. § 195 et seq. PHMSA’s safety

    regulations address matters such as corrosion, cracking, and strain on interstate pipelines,

    among a broad range of other safety matters addressed in its regulations. PHMSA

    possesses exclusive authority to issue an order providing for the shutdown of a pipeline

    based on safety concerns, or to impose operational restrictions to ensure the safe operation

    of a pipeline. See Pipeline Safety Act at 49 U.S.C. § 60117(o); 49 C.F.R. § 190.236; 49




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    C.F.R. § 190.233; 49 C.F.R. § 190.239. In addressing this authority, the federal statute

    recognizes the wide-ranging implications of ordering an interstate pipeline to close and

    thereby directs PHMSA to consider and balance the impact of any shutdown order on

    (1) public health and safety, (2) the national or regional economy or national security, and

    (3) the ability of pipeline owners and operators to maintain reliability and continuity of

    services to customers. The statute further requires that PHMSA consult with appropriate

    federal and state agencies and entities knowledgeable in pipeline safety or operations

    before ordering a pipeline to shut down.

           18.     The question of whether the federal agencies charged by Congress to

    balance energy and environmental needs for the entire Nation have struck that balance in

    an appropriate way is “inherently federal in character” and gives rise to federal question

    jurisdiction. Buckman Co. v. Plaintiffs’ Legal Comm.,531 U.S. 341, 347 (2001); accord,

    e.g., Pet Quarters, Inc. v. Depository Trust & Clearing Corp.,5 59 F.3d 772, 779 (8th Cir.

    2009) (affirming federal question jurisdiction where claims implicated federal agency’s

    acts implementing federal law); Bennett v. Southwest Airlines Co.,484 F.3d 907, 909 (7th

    Cir. 2007) (federal removal under Grable appropriate where claims were “a collateral

    attack on the validity of” agency action under a highly reticulated regulatory scheme).

    Adjudicating these claims in federal court is appropriate because the relief sought by

    Plaintiffs would necessarily alter the regulatory regime designed by Congress, impacting

    residents of the Nation far outside the state court’s jurisdiction. See, e.g., Grable, 545 U.S.

    at 312 (claims that turn on substantial federal questions “justify resort to the experience,

    solicitude, and hope of uniformity that a federal forum offers on federal issues”); West

    Virginia ex rel. McGraw v. Eli Lilly & Co., 476 F. Supp. 2d 230, 234 (E.D.N.Y. 2007)




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    (removal under Grable is appropriate where state common law claims implicate “an

    intricate federal regulatory scheme ...requiring some degree of national uniformity in

    interpretation”). The Complaint necessarily requires evaluation of a federal regulatory

    scheme and the adequacy of federal decision-making under that scheme. In seeking a

    shutdown, Plaintiffs assert a right to close the pipelines based on a public trust obligation

    that assertedly derives from their ownership of the Straits bottomlands. They also invoke

    safety standards in the easement as grounds for terminating Line 5. But the grounds on

    which plaintiffs rely are in areas already regulated by federal agencies and as to which

    federal law is explicitly “paramount” as provided in the SLA. Further, to determine

    whether Enbridge violated any safety standards, a court would need to construe federal

    law, including the pipeline shutdown provisions of the Pipeline Safety Act, plus the

    applicability of the safety regulatory regime administered by PHMSA. This unquestionably

    gives rise to federal question jurisdiction. See Boyeston v. S.C. Elec. & Gas Co., 2016 WL

    1578950 at *5 (D.S.C. Apr. 20, 2016) (removal proper where “allegations of negligence

    appears on their face to not reference federal law, [but] federal issues are cognizable as the

    source for the duty of care ….”); accord, e.g., Bd. Of Comm’rs of Se. La. Flood Prot. Auth.-

    E. v. Tenn. Gas Pipeline Co., L.L.C., 850 F.3d 714,724 (5th Cir. 2017) (in the context of

    comprehensive federal regulatory scheme, nuisance claims amount to “a collateral attack

    ... premised on the notion that the scheme provides inadequate protection”); Pet Quarters,

    Inc. v. Depository Trust and Clearing Corp., 559 F.3d 772, 779 (8th Cir. 2009) (complaint

    “presents a substantial federal question because it directly implicates actions taken by” a

    federal agency); McKay v. City and Cty. of San Francisco, 2016 WL 7425927, at *4 (N.D.

    Cal. Dec. 23, 2016) (denying remand and ruling that federal jurisdiction lies under Grable




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    because state-law claims were “tantamount to asking the Court to second guess the validity

    of the FAA’s decision”).

    IV.    The action is removable under the federal officer removal statute.

           19.     The Federal Officer Removal statute allows removal of an action against

    “any officer (or any person acting under that officer) of the United States or of any agency

    thereof . . . for or relating to any act under color of such office.” 28 U.S.C. § 1442(a)(1).

    A party seeking removal under section 1442 must establish “(1) it is a federal officer or a

    person acting under that officer, (2) a colorable federal defense; and (3) the suit is for an

    act under color of office, which requires a causal nexus between the charged conduct and

    asserted official authority.” Ripley, 841 F.3d at 209–10 (internal citations, quotation marks,

    and alterations omitted). All three elements are satisfied here.

           20.     First, the Enbridge Defendants “acted under” a federal officer because “the

    government [PHMSA] exert[ed] some ‘subjection, guidance, or control,’” over Enbridge’s

    action in the operation and safety management of the Dual Pipelines through its extensive

    regulations and because Enbridge thereby “engage[d] in an effort ‘to assist, or to help carry

    out, the duties or tasks of the federal superior.’” Sawyer v. Foster Wheeler LLC, 860 F.3d

    249, 255 (4th Cir. 2017) (quoting Watson v. Philip Morris Cos., 551 U.S. 142, 151–52

    (2007)).

           21.     Second, there is a causal nexus between Enbridge’s management of the

    Dual Pipelines, taken pursuant to PHMSA’s regulations and directives, and Plaintiffs’

    claims concerning the safety of the Pipelines. In Sawyer, the Fourth Circuit held removal

    proper where a military contractor, sued for failing to warn about asbestos in military

    equipment, showed extensive evidence of federal control over its activities. This included




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    “highly detailed ship specifications and military specifications provided by the Navy,”

    whereby the Navy exercised “intense direction and control ... over all written

    documentation to be delivered with” the equipment, deviations from which “were not

    acceptable.” Id. at 253. Here, Plaintiffs’ allegations depend on the activities of Enbridge

    over the past decades in its management of the Dual Pipelines—many of which activities

    were undertaken in furtherance of PHMSA requirements and, as warranted, direct

    oversight. For example, PHMSA was actively involved in reviewing the safety of, and

    allowing the renewed operation of, the Dual Pipelines following an incident reported in

    2020 involving damage to a pipeline support.

            22.     Third, Enbridge intends to raise numerous meritorious federal defenses,

    including preemption, interstate and foreign commerce, and foreign affairs. These and

    other federal defenses are more than colorable. See Willingham v. Morgan, 395 U.S. 402,

    407 (1969) (a defendant invoking section 1442(a)(1) “need not win his case before he can

    have it removed”). Accordingly, removal under Section 1442 is proper.

    V.      This Court has jurisdiction and removal is proper

            23.     For these reasons, this Court has original jurisdiction over this action under

    28 U.S.C. §1331. Removal of this action is proper under 28 U.S.C. §§ 1441(a), 1442, and

    1367. Upon filing this Notice of Removal, Defendants will furnish written notice to

    Plaintiffs’ counsel, and will file and serve a copy of this Notice with the Clerk of the Circuit

    Court for 30th Judicial Circuit, Ingham County pursuant to 28 U.S.C. § 1446(d).




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           Accordingly, Defendants hereby remove to this Court the above action pending

    against them in the Circuit Court for 30th Judicial Circuit, Ingham County.

    Dated: November 24, 2020

                                                        Respectfully submitted,

                                                        /s/ Peter H. Ellsworth

                                                        Peter H. Ellsworth (P23657)
                                                        Jeffery V. Stuckey (P34648)
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                Exhibit A
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                              STATE OF MICHIGAN
                  CIRCUIT COURT FOR THE 30TH JUDICIAL CIRCUIT
                               INGHAM COUNTY

   THE STATE OF MICHIGAN, GOVERNOR
   OF THE .STATE OF MICHIGAN, and
   MICHIGAN DEPARTMENT OF NATURAL
   RESOURCES,                                                 No. 20-      (oLf• (p         - CE
          Plaintiffs,                                         HON.CLINTON             CANADY Ill
    V


    ENBRIDGE ENERGY LIMITED
    PARTNERSHIP, ENBRIDGE ENERGY
    COMPANY, INC., and ENBRIDGE ENERGY
    PARTNERS, L.P.,

          Defendants.
                                                                                                   ,_~
    Robert P. Reichel (P31878)                                                                     r
    Daniel P. Bock (P71246)
    Assistant Attorneys General
                                                                                                   rn
    Attorneys for Plaintiffs                                                                       0
    Environment, Natural Resources, and
    Agriculture Division
    P.O. Box 30755
    Lansing, MI 48909
    (517) 335-7664



              There is a prior civil action arising out of the same transaction or occurrence
                     as alleged in this Complaint pending in this Court, assigned to
                         Judge James Jamo and given case number 19-474-CE ..



          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

          Plaintiffs, the State of Michigan, the Governor of the State of Michigan, and

   the Michigan Department of Natural Resources, by and through their undersigned

   counsel,. allege as follows:
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                                    NATURE OF THE CASE

          1.        Plaintiffs bring this action to resolve actual controversies between the

   Parties regarding the legality of and Defendants' noncompliance with an easement

   entitled "Straits of Mackinac Pipe Line Easement Conservation Commission of the

   State of Michigan to Lakehead Pipe Line Company, Inc." ("1953 Easement" or

   "Easement"), a copy of which is attached as Exhibit 1. The 1953 Easement

   authorized Defendants' predecessor to construct, operate and maintain dual

   petroleum pipelines on state-owned bottomlands at the Straits of Mackinac ("Straits

   Pipelines" or "Pipelines"). On November 13, 2020, the Governor of the State of

   Michigan and the Michigan Department of Natural Resources, on behalf of the

   State of Michigan, issued the Notice of Revocation and Termination of Easement

   ("Notice"), a copy of which is attached as Exhibit 2. For the reasons more fully

   stated therein, the Notice provided that the State was (a) revoking the 1953
               ..
   Easement, effective 180 days from the date of the Notice, based upon the public

   trust doctrine, and (b) terminating the 1953 Easement, effective 180 days from the

   date of the Notice, based upon Defendants' persistent and incurable violations of the

   terms and conditions of the Easement, including Defendants' duty to at all times

   exercise the due care of a reasonably prudent person. The Notice also provided that

   the December 19, 2018 Third Agreement between the State of Michigan and

   Enbridge does not preclude the revocation and termination of the 1953 Easement.

   A copy of the Third Agreement is attached as Exhibit 3.

         2.         Defendants publicly maintain that: (a) the 1953 Easement is lawful

   and does not violate the public trust doctrine; (b) they have complied with the terms


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   and conditions of the Easement; and (c) the Third Agreement ensures that they may

   continue to operate the existing Straits Pipelines until they are replaced with a new

   pipeline to be located in a proposed tunnel beneath the Straits. Therefore, actual

   controversies between the Parties exist on those subjects, warranting declaratory

   judgment.

         3.     Plaintiffs seek declaratory judgments consistent with the Notice

   declaring that the State: (a) properly revoked the 1953 Easement effective 180 days

   after the date of the Notice because operation of the Straits Pipelines violates the

   public trust doctrine; (b) properly determined that the 1953 Easement should be

   terminated effective 180 days after the date of the Notice because of Defendants'

   persistent and incurable violations of the Easement's terms and conditions; and (c)

   properly determined that the Third Agreement does not preclude revocation and

   termination of the 1953 Easement. Plaintiffs seek injunctive relief consistent with

   the Notice requiring Defendants to: (a) cease operation of the Straits Pipelines 180

   days after the date of the Notice; and (b) permanently decommission the Straits

   Pipelines in accordance with applicable law and plans approved by the State of

   Michigan.


                                         PARTIES

         4.     The State of Michigan is a sovereign state and body politic. Upon its

   admission to the Union in 1837, and under the equal footing doctrine, the State took

   title to all unpatented bottomlands of navigable waters within its boundaries,

   including those in the Great Lakes at the Straits of Mackinac. Under the public


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    trust doctrine, the State holds those lands in trust for the benefit of the People of

   the State and has the perpetual duty to protect public uses of the waters and lands.

          5.     Governor Gretchen Whitmer is the duly elected Governor of the State

   of Michigan pursuant to Article V, Section 21 of Michigan's Constitution. Under

   Article V, Section 1 of the Constitution, all executive power of the State is vested in

   the Governor, subject to exceptions not relevant here.

          6.     The Michigan Department of Natural Resources ("Department") is a

   principal department of the State of Michigan charged with the duty to protect and

   conserve the natural resources of this state.' MCL 324.503(1). The Department has

   the power and jurisdiction over the management, control, and disposition of all land

   under the public domain. MCL 324.503(2). As related to the 1953 Easement, the

   Department is the legal successor to the Easement's Grantor, the Conservation

   Commission of the State of Michigan.

          7.     Enbridge Energy, Limited Partnership is a Delaware limited

   partnership conducting business in Michigan. Upon information and belief, it is the

   successor in interest to the Grantee of the 1953 Easement, Lakehead Pipe Line

   Company, Inc.

          8.     Enbridge Energy Company, Inc. is a Delaware corporation conducting

   business in Michigan.

          9.     Enbridge Energy Partners, L.P. is a Delaware limited partnership

   conducting business in Michigan.




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          10.    Enbridge Energy, Limited Partnership, Enbridge Energy Company,

   Inc., and Enbridge Energy Partners, L.P., (collectively "Enbridge") control and

   operate the Enbridge Line 5 pipeline that extends from Superior, Wisconsin, across

   the Upper Peninsula of Michigan, crosses the Straits of Mackinac through the

   Straits Pipelines portion of Line 5, and continues through the Lower Peninsula to

   Marysville, Michigan and then crosses beneath the St. Clair River to Sarnia,

   Ontario, Canada.


                             JURISDICTION AND VENUE

          11'.   This Court has subject matter jurisdiction over this civil matter under

   MCL 600.605.

          12.    Venue for this civil action is proper in this Court under MCL 600.1631.


                        FACTUAL AND LEGAL BACKGROUND

                                    1953 Easement

          13.    On April 23, 1953, the Conservation Commission of the State of

   Michigan granted the 1953 Easement to Lakehead Pipe Line Company, Inc.

          14.    The Easement recited that it was issued by the Conservation

    Commission under the authority of 1953 PA 10 and in consideration of a one-time

   payment of $2,450.00 by the Grantee to the Grantor.

          15.    Subject to its terms and conditions, the Easement granted the Grantee

   and its successors and assigns the right "to construct, lay, maintain, use and

   operate" two 20-inch diameter pipelines for the purpose of transporting petroleum



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    and other products, "over, through, under, and upon" specifically described

   bottomlands owned by the State of Michigan in the Straits of Mackinac.

          16.    As stated in the Notice, the 1953 Easement obligates the Grantee and

   its successors to at all times exercise due care:

                  Paragraph A of the 1953 Easement provides: "Grantee
          [originally Lakehead Pipe Line Company, Inc., now Enbridge] in its
          exercise of rights under this easement, including its designing,
          constructing, testing, operating, maintaining, and, in the event of
          termination of this easement, its abandoning of said pipe lines, shall
          follow the usual, necessary and proper procedures for the type of
          operation involved, and at all times shall exercise the due care of a
          reasonably prudent person for the safety and welfare of all persons and
          of all private and public property . . . ." (Emphasis added.)

          17.   In addition, as stated in the Notice, the 1953 Easement is also subject

   to specific terms and conditions relating to, among other things, spans of

   unsupported pipeline, pipeline coatings, and pipeline curvature.

          18.   As stated in the Notice, by its terms, the Easement may be terminated

   by the Grantor if after receiving notice that it has breached its terms, the Grantee

   fails to cure the violation(s) within a specified period:

                 Paragraph C.(1) of the Easement provides that it may be
          terminated by Grantor "[i]f, after being notified in writing by Grantor
          of any specified breach of the terms and conditions of this easement,
          Grantee shall fail to correct said breach within ninety (90) days, or,
          having commenced remedial action within such ninety (90) day period,
          such later time as it is reasonably possible for the Grantee to correct
          said breach by appropriate action and the exercise of due diligence in
          the correction thereof ...."

          19.    On June 27, 2019, Governor Whitmer directed the Department to

   undertake a comprehensive review of Enbridge's compliance with the 1953

   Easement. The Department submitted several requests to Enbridge to provide



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   documents and information pertaining to its compliance with the Easement.

   Beginning in February 2020 and ending in June 2020, Enbridge provided some

   documents in response to these requests.

         20.    In addition to reviewing Enbridge's compliance with the 1953

   Easement, the State has also reviewed whether the continued operation of the

   Straits Pipelines is consistent with the public trust doctrine.

         21.    Based upon those reviews, the State determined, for the reasons stated

   in detail in the Notice issued November 13, 2020, that the 1953 Easement: (a)

   should be revoked based upon the public trust doctrine; and (b) should be

   terminated under its terms and conditions based upon Enbridge's repeated and

   incurable violations of its due-care and specific compliance obligations. The State

   further determined for the reasons stated in the Notice that the Third Agreement

   does not preclude the revocation and termination of the 1953 Easement.

         22.    The Notice provided that the State:

         A.     Revokes the 1953 Easement, effective 180 days from the date of this
                Notice to provide notice to affected parties and to allow for an orderly
                transition to ensure Michigan's energy needs are met.

         B.     Terminates the 1953 Easement, effective 180 days from the date of this
                Notice to provide notice to affected parties and to allow for an orderly
                transition to ensure Michigan's energy needs are met.

         C.     Requires Enbridge to cease operation of the Straits Pipelines 180 days
                from the date of this Notice.

         D.     Requires Enbridge to permanently decommission the Straits Pipelines
                in accordance with applicable law and plans approved by the State of
                Michigan.




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                                            COUNTI

          The State properly revoked the 1953 Easement because it violates
          the public trust.

          23.       Paragraphs 1 through 22 above are re-alleged and incorporated by

    reference.

          24.       As the Michigan Supreme Court held in Glass v Goechel, 473 Mich 667,

    678-679 (2005):

          [U]nder longstanding principles of Michigan's common law, the state,
          as sovereign, has an obligation to protect and preserve the waters of
          the Great Lakes and the lands beneath them for the public. The state
          serves, in effect, as the trustee of public rights in the Great Lakes for
          fishing, hunting, and boating for commerce or pleasure. (Citations and
          footnote omitted.)

          25.       These public rights are protected by a "high, solemn and perpetual

   trust which it is the duty of the state to forever maintain." Collins v Gerhardt, 237

   Mich 38, 49 (1926) (emphasis added).

          26.       Plaintiffs incorporate by reference Sections I.A and LB of the Notice

   explaining the public trust doctrine and the limitations it imposes upon transfers of

   public trust bottomlands to private parties.

          27.       As stated in the Notice, the 1953 Easement violated the public trust

   doctrine from its inception because the State never made a finding that the

   Easement: (1) would improve navigation or another public trust interest; or (2)

   could be conveyed without impairment of the public trust.

          28.       The Notice properly concluded that in the absence of either of the due

   findings required under the public trust doctrine, the 1953 Easement was void from

   its inception.

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          29.   Plaintiffs incorporate by reference Section I.C of the Notice explaining

   the State's perpetual duty to protect the public trust, that any grant of State public

   trust lands remains subject to the public trust and that such a grant is necessarily

   revocable to ensure protection of the public trust.

          33.   As the Notice stated:

                Recent events have made clear that continued operation of the
         Straits Pipelines cannot be reconciled with the State's duty to protect
         public trust uses of the Lakes from potential impairment or
         destruction. As outlined below, transporting millions of gallons of
         petroleum products each day through two 67-year-old·pipelines that lie
         exposed in the Straits below uniquely vulnerable and busy shipping
         lanes presents an extraordinary, unreasonable threat to public rights
         because of the very real risk of further anchor strikes and other
         external impacts to the Pipelines, the inherent risks of pipeline
         operations, and the foreseeable, catastrophic effects if an oil spill
         occurs at the Straits.

         34.    The State properly determined for the reasons detailed in Section I.C

   of the Notice that continued operation of the Straits Pipelines violates the public

   trust and that the 1953 Easement should be revoked, effective 180 days from the

   date of the Notice.


                                         COUNT II

         The State properly terminated the 1953 Easement because of
         Enbridge's repeated and incurable violations of the Easement's
         terms and conditions.

         35.    Paragraphs 1 through 34 above are re-alleged and incorporated by

   reference.

         36.    Plaintiffs incorporate by reference Section II of the Notice.




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         37.    As detailed in Section II.B of the Notice, Enbridge has persistently and

   incurably violated its due-care and specific compliance obligations under the

   Easement.

         38.    As explained in Section II.B.l of the Notice, Enbridge has violated the

   Easement requirement limiting spans of unsupported pipeline and its due-care

   obligation in connection therewith:

                Paragraph A.(10) of the Easement requires that each Pipeline
         must be physically supported (i.e., either rest on the lakebed or be
         supported by some other structure/device) at least every 75 feet. This
         prohibition of unsupported pipeline "spans" longer than 75 feet serves
         to protect the structural integrity of the pipelines from stresses and
         vibrations that may be caused by the strong currents surrounding the
         Pipelines. Those same currents can erode the lakebed on which
         portions of the Pipelines rest, creating excessive spans.

               For virtually the entire time the Easement has been in place,
         Enbridge has ignored the 75' span requirement. • Documents provided
         by Enbridge confirm that since at least 1963 and continuing through
         2012, Enbridge has known that multiple unsupported pipe spans have
         exceeded 75 feet but has failed to take remedial action to address the
         non-compliant spans[.]

                                         ***
                Several documents submitted by Enbridge suggest that at some
         point in time the company chose to ignore the Easement's 75' span
         requirement and replace it with a 140' requirement for taking
         corrective action on unsupported pipe spans ....

                                         ***
                ... Enbridge's apparent unilateral adoption a 140' pipe span
         criterion in lieu of the 75' Easement condition was itself a violation of
         the Easement. For virtually the entire life of the Easement, Enbridge
         disregarded its obligation to comply with the 75' pipe span
         requirement, and even failed to take corrective action when pipe spans
         exceeded 200' in length (e.g., see above, unsupported spans of 216' to
         421' in length).



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               For decades, Enbridge violated and neglected its obligations
         under Paragraph A.(10) of the Easement, and its concomitant duties to
         inspect, timely repair, and disclose exceedances of pipe spans to the
         State of Michigan. In doing so, Enbridge exhibited an astonishing lack
         of candor and indifference to its due-care obligations under the
         Easement.

         39.   As explained in Section II.B.2 of the Notice, Enbridge has violated the

   Easement requirement regarding pipeline coatings and its due-care obligation in

   connection therewith:

                Paragraph A.(9) of the Easement requires Enbridge to maintain
         a multi-layer coating on the Pipelines. This protective coating is
         intended to prevent the steel from being exposed to environmental
         factors that could cause corrosion or other physical damage.

                Since at least 2003, and continuing until 2014, Enbridge was on
         notice that heavy biota (i.e., mussels) accumulation on the Straits
         Pipelines made it impossible to do a detailed analysis of the integrity of
         the coating/wrap for the Pipelines over much of their length. Despite
         these repeated warnings, and notwithstanding its affirmative
         obligation under the Easement to ensure the integrity of the pipeline
         coating/wrap, documents submitted by Enbridge show it made little to
         no effort to undertake a more detailed study of the condition of the
         pipeline coating/wrap until 2016-2017 - a gap of approximately 13-14
         years from notice to response.

                                            ***
                ... In March 2017, in response to questions raised by the
         Michigan Pipeline Safety Advisory Board, Enbridge publicly
         represented to the Board, whose members included State agency
         representatives, that no gaps [in the pipeline coating exposing bare
         metal] existed on the Pipelines and there was no need for any repairs. •
         Yet in August 2017, Enbridge informed State officials that there were
         three small areas of bare metal exposed, and later was forced to
         acknowledge both that it had known of these coating gaps since 2014
         and that some were apparently caused by Enbridge during the
         installation of pipe supports. • Subsequent inspections showed dozens
         more areas of coating damage. •

              Enbridge's course of conduct, by failing to undertake a detailed
         examination of the condition of the pipeline coating/wrap despite being



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         on notice of the need to do so for 13-14 years, delaying disclosure to the
         State of several areas of bare metal for three years after initially
         denying such conditions existed, and only belatedly undertaking
         further inspections and repairs when demanded by the State,
         evidences a pattern of indifference to, and violation of, the conditions of
         Paragraph A.(9) of the Easement and its obligation to exercise due
         care.

         40.    As stated in Section II.B.3 of the Notice, Enbridge has violated the

   Easement requirement regarding pipeline curvature and its due-care obligation in

   connection therewith:

                Paragraph A.(4) of the Easement includes a condition that "[t]he
         minimum curvature of any section of pipe shall be no less than two
         thousand and fifty (2,050) feet radius." This condition relating to
         pipeline curvature limits stresses placed on the Pipelines.

                The DNR requested documents and information relating in any
         way to Enbridge's efforts to ensure compliance with this condition, and
         Enbridge provided several GEOPIG Geometry Inspection Reports
         beginning in 2005.D The GEOPIG Reports do not refer to the pipe's
         radius curvature but rather record the diameter bend of the pipe. A
         diameter bend of 1230D feet is equivalent to a minimum curvature of
         2,050 feet radius.

               Any diameter bend between OD and 1230D would violate the
         Easement standard. The GEOPIG Reports, however, only provide data
         on bends less than 100D. Even with this limitation, the GEOPIG
         Reports identify 20 to 25 exceedances of the Easement's minimum pipe
         curvature requirement. • ...

                Enbridge ignored the pipeline curvature mandate of Paragraph A.(4) of
         the Easement, perhaps from the very beginning with installation of the
         Straits Pipelines. Noncompliance with the curvature condition continues
         today and remains uncorrected. This is contrary to the standard of due care
         imposed by the Easement and represents an ongoing, incurable violation of
         one of the Easement's fundamental terms and conditions.
         41.   In addition, as explained in Section II.B.4 of the Notice, Enbridge's

   continued operation of the exposed Straits Pipelines in the open water, where recent

   events demonstrate they are vulnerable to impacts by anchors and other external



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   objects, creates an unreasonable risk of grave environmental and economic harm

   that violates its due-care obligation under the Easement:

                 In the face of the documented and recently demonstrated
         vulnerability of the Straits Pipelines to external impacts from anchors
         and other objects, and the complete failure of safety systems intended
         to mitigate such impacts, as well as the inherent threats to pipeline
         integrity from incorrect operations and procedural errors, Enbridge's
         continued operation of the Straits Pipelines is contrary to and
         incompatible with its affirmative duty under the Easement to "exercise
         the due care of a reasonably prudent person for the safety and welfare
         of all persons and of all private and public property." Under these
         circumstances, continued operation of the Straits Pipelines presents a
         substantial, inherent and unacceptable risk of a catastrophic oil spill
         with grave ecological and economic consequences ....

         42.    Enbridge's violations of the Easement cannot be corrected. As

   explained in the Notice:

                Paragraph C.(1) of the Easement provides that the Easement
         may be terminated by Grantor "[i]f, after being notified in writing by
         Grantor of any specified breach of the terms and conditions of this
         easement, Grantee shall fail to correct said breach within ninety (90)
         days, or, having commenced remedial action within such ninety (90)
         day period, such later time as it is reasonably possible for the Grantee
         to correct said breach by appropriate action and the exercise of due
         diligence in the correction thereof ...."

               The stated timeframes for correcting a breach of the Easement
         presume that the identified breach or violation is "correctable." As
         more fully explained below, Enbridge has failed for decades to meet its
         compliance and due-care obligations under the Easement, and.it
         remains in violation of those obligations. There is nothing Enbridge
         can do to change its past behavior and callous disregard for its duties
         under the Easement, and its breaches of the Easement's terms and
         conditions cannot be corrected or otherwise cured.

         43.    Enbridge's longstanding and persistent violations of the Easement's

   terms and conditions, including its continuing, unreasonably risky operation of the




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   Straits Pipelines in violation of its due-care obligation under the Easement, cannot

   be corrected except by ceasing the Pipelines' operation.

         44.    For all these reasons, the State properly terminated the Easement,

   effective 180 days from the date of the Notice.


                                        COUNT III

         The State properly determined that the December 19, 2018 Third
         Agreement does not preclude the revocation and termination of the
         1953 Easement.

         45.    Paragraphs 1 through 44 above are re-alleged and incorporated by

   reference.

         46.    Plaintiffs incorporate by reference Sections I.D and II.C of the Notice.

         47.    On December 19, 2018, the then Governor of Michigan, the then

   Director of the Department of Natural Resources, the then Director of the

   Department of Environmental Quality, and representatives of Enbridge signed a

   document entitled "Third Agreement between the State of Michigan, Michigan

   Department of Environmental Quality, and Michigan Department of Natural

   Resources and Enbridge Energy, Limited Partnership, Enbridge Energy Company,

   Inc., and Enbridge Energy Partners, L.P ." ("Third Agreement") relating to the

   Straits Pipelines. The Third Agreement provided that, subject to specified

   conditions, Enbridge could continue to operate the existing Straits Pipelines

   pending completion of a tunnel beneath the Straits and of a Straits Line 5

   Replacement Segment to be constructed and operated within the proposed tunnel.

         48.    Specifically, Article 4.1 of the Third Agreement states:


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         4.1   The State agrees that Enbridge may continue to operate the
         Dual Pipelines, which allow for the functional use of the current Line 5
         in Michigan, until the Tunnel is completed, and the Straits Line 5
         Replacement segment is placed in service within the Tunnel, subject to
         Enbridge's continued compliance with all of the following:

               (a)    The Second Agreement;

               (b)    The Tunnel Agreement;

               (c)    This Third Agreement;

               (d)    The 1953 Easement; and

               (e)    All other applicable laws, including those listed in
                      Section V of the Second Agreement. (Emphasis
                      added.)

         49.   As explained in Section I.D of the Notice, the Third Agreement does

   not preclude the revocation of the 1953 Easement:

                Notwithstanding the Third Agreement, the 1953 Easement is
         subject to revocation under the public trust doctrine, and the Third
         Agreement's stated conditional right to continue to operate the Straits
         Pipelines does not preclude that revocation, for at least two reasons.
         First, as detailed below in Section II of this Notice, Enbridge incurably
         has violated and continues to violate the 1953 Easement. Second, as
         set forth above, the public trust doctrine is among the laws that apply
         to the existing Straits Pipelines and Enbridge's continued operation of
         the Pipelines violates the public trust.

               Section 4.2 of the Third Agreement states in part:

               4.2   Provided that Enbridge complies with Section 4.1 above,
               the State agrees that:
                                        ***
               (c)    The replacement of the Dual Pipelines with the
                      Straits Line 5 Replacement Segment in the Tunnel
                      is expected to eliminate the risk of a potential
                      release from Line 5 at the Straits.

               (d)    In entering into this Third Agreement, and thereby
                      authorizing the Dual Pipelines to continue to
                      operate until such time that the Straits Line 5


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                      Replacement Segment is placed into service within
                      the Tunnel, the State has acted in accordance with
                      and in furtherance of the public's interest in the
                      protection of waters, waterways, or bottomlands
                      held in public trust by the State of Michigan.

                The language of Section 4.2 quoted above does not and cannot
         preclude the revocation of the 1953 Easement under the public trust
         doctrine for at least the following reasons. To begin, it is expressly
         conditioned on Enbridge's compliance with Section 4.1; as discussed,
         Enbridge is not, and has not been, in compliance with that provision.
         Furthermore, nothing in Section 4.2 provides a "due finding" that
         Enbridge's continued use of public trust bottomlands and waters to
         operate the existing Straits Pipelines would either enhance the public
         trust or not impair the public trust uses of waters and lands at the
         Straits. Section 4.2(d) does not itself supply it. Nor does the related
         assertion in Section 4.2(c) that the eventual replacement of the
         existing Pipelines with a new pipeline in the proposed tunnel is
         expected to eliminate the risk of a potential release from Line 5 at the
         Straits. It simply does not follow from that assertion that continuing
         to operate the existing Pipelines until they are replaced would
         somehow enhance the public trust or not impair it. And nothing else in
         the Third Agreement suggests, let alone embodies, a finding that
         continued operation of the Pipelines now, before a tunnel is completed,
         mitigates the risk of releases from them. Nor, for that matter, could
         the requisite due finding have been made when the Third Agreement
         was signed in December 2018, given the substantial, inherent and
         unreasonable risk of grave harm presented by the continued operation
         of the Straits Pipelines. See Section LC, supra.

               Finally, even if the Third Agreement contained a lawful finding
         by the State officials who signed it in 2018 that Enbridge's continued
         operation of the Straits Pipelines is consistent with the public trust-
         which it did not-any such finding is not permanently binding on the
         State and those former State officials' successors, who retain a solemn,
         perpetual and irrevocable duty to protect the public trust. Accordingly,
         the Third Agreement does not preclude the revocation of the 1953
         Easement for the reasons stated in this Notice.

         50.   As explained in Section II.C of the Notice, the Third Agreement does

   not preclude termination of the 1953 Easement:

                As noted in Section I.D above, the continued operation of the
         existing Straits Pipelines under the terms of the Third Agreement is


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         expressly conditioned upon Enbridge's compliance with the 1953
         Easement. And, as outlined above, Enbridge incurably has violated
         and continues to violate the Easement.

               Section 4.2 of the Agreement addresses compliance with certain
         terms and conditions of the Easement discussed in this Notice:

               4.2   Provided that Enbridge complies with Section 4.1 above,
               the State agrees that:

                                       ***
               (b)    Enbridge's compliance with Article 5 below
                      demonstrates compliance with the specified
                      conditions of the 1953 Easement.

                                        ***
               (e)   Based on currently available information, the State
                     is not aware of any violation of the 1953 Easement
                     that would not be addressed and cured by
                     compliance with Section 4.1 and Article 5 of this
                     Agreement. (Emphasis added.)

                These provisions do not preclude termination of the Easement
         pursuant to this Notice for at least the following reasons. First, as
         noted above, Section 4.2 is conditioned on Enbridge's compliance with
         Section 4.1 of the Third Agreement, and Enbridge is not, and has not
         been, in compliance with that provision. Second, neither Section 4.2
         nor Article 5 addresses in any way two of the terms and conditions of
         the Easement that form the basis of this Notice of Termination: the
         obligation to exercise due care and the condition on pipeline curvature
         in Paragraph A.(4). Third, the statement in Section 4.2(e)-that the
         State is not aware of any violation of the 1953 Easement that would
         not be addressed and cured by compliance with Article 5-expressly
         provided that it was "based on currently available information," i.e.,
         information considered as of December 2018. Here, as .noted above,
         beginning in 2019, the State undertook a systematic investigation and
         review of Enbridge's compliance with the Easement. It was through
         that subsequent review that the State has now identified the full scope
         of repeated past and continuing violations of the Easement that form
         the grounds for this Notice of Termination.

                Article 5 of the Third Agreement, which is referenced in Section
         4.2, addresses two of the Easement conditions at issue here:
         Paragraph A.(9) concerning pipeline coatings (addressed in Section 5.2


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          of the Third Agreement) and Paragraph A.(10) concerning unsupported
          pipe spans (addressed in Section 5.3 of the Third Agreement). But the
          language of Sections 5.2 and 5.3 is limited and qualified in two
          important ways. First, as in Section 4.2(e), the statements in these
          provisions of Article 5 regarding compliance with the Easement are
          expressly qualified by reference to "currently available information'':

                The State agrees, based upon currently available information,
                that Enbridge's compliance with the requirements under this
                Section 5.2 satisfies the requirements of Paragraph A (9) of the
                1953 Easement. (Section 5.2(d) (emphasis added).)

                                         ***
                The State agrees, based upon currently available
                information, that Enbridge's compliance with the
                requirements under this Section 5.3 satisfies the
                requirements of Paragraph A (10) of the 1953 Easement.
                (Section 5.3(d) (emphasis added).)

         Again, as noted above, the full scope of violations of Paragraphs A.(9)
         and A.(10) of the Easement discussed in this Notice were identified
         through the State's recent review of Easement compliance. Moreover,
         the terms of Sections 5.2 and 5.3 were focused solely on actions to be
         taken prospectively regarding then current or potential future issues
         with pipeline coatings and unsupported pipe spans. They do not
         consider or address the longstanding pattern of Enbridge's violations of
         Paragraphs A.(9) and A.(10). Accordingly, the Third Agreement does
         not preclude the termination of the Easement for the reasons stated in
         this Notice.

                                 RELIEF REQUESTED

         For the reasons stated in this complaint, Plaintiffs request that this Court

   grant the following relief:

         A.     Enter a declaratory judgment that the State properly revoked the 1953

   Easement, effective 180 days from the date of the Notice, because it violates the

   public trust doctrine.




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           B.        Enter a declaratory judgment that the State properly terminated the

   1953 Easement, effective 180 days from the date of the Notice, because of

   Enbridge's persistent and incurable violations of the Easement's terms and

   conditions.

            C.       Enter a declaratory judgment that the State properly determined that

   the December 19, 2018 Third Agreement does not preclude the revocation and

   termination of the 1953 Easement.

           D.        Enter a permanent injunction, consistent with the Notice, requiring

   Enbridge to (1) cease operation of the Straits Pipelines 180 days from the date of the

   Notice; and (2) permanently decommission the Straits Pipelines in accordance with

   applicable law and plans approved by the State of Michigan.

           E.        Any other relief that the Court finds just and reasonable.

                                                                 Respectfully submitted,

                                                                 Dana Nessel
                                                                 Attorney General

                                                                 Isl Robert P. Reichel
                                                                 Robert P. Reichel (P31878)
                                                                 Daniel P. Bock (P71246)
                                                                 Assistant Attorneys General
                                                                 Attorneys for Plaintiffs
                                                                 Environment, Natural Resources, and
                                                                 Agriculture Division
                                                                 P.O. Box 30755
                                                                 Lansing, MI 48909
                                                                 (517) 335-7664
   Dated: November 13, 2020



                 I
   LF: Enbridge Straits (Dec & Inj Relief)(GOV)(DNR)AG# 2020-0304222-A/Complaint 2020-11-13-Final




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                             EXHIBIT 1
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                               STRAITS OF MACKINAC PIPE I,INE EASEMENT
                         OONSERVA~IOH COMMISSION OF THE STA'l'E OF MICHIGAN
                                                 TO
                                 LAXEHEAD PIPE LINE COMPANY, INC.



                  THIS EASEMENT, executed this twent;r-third day of April, A. D. 1953, by

         the State of Michigan by the Conserv.,i.tion Oo:mmissiQn, by Way-land OsgoQd, Deputy

        Director, acting under and pursuant to a r~solution adopted by the Conservation

        Oommiseion at its meeting held on February 13, 1953, and by ~irtue of the author-
        ity co~erred by Act No. 10, P.A. i953, hereinafter referred ~o as Granter, to
        La.kehead Pipe Line Company, -Inc., a Delaware corporation, of 510 22nd Avenue
        Ea.st, Superior, Wisconsin, hereinafter referred to as Grantee,




                  WHEREAS, application has been made by Grantee for an easement author-
        izing it to construct, lay and maintain pipe lines over, through, under and

        upon certain lake bottom lands belonging to the State of Michigan, a)ld under

        ihe Jurisdiction of the Department of Conservation, located in the Straits of

        Mackinac, Michigan, for the purpose of transporting petroleum and other ·:pro-

        ducts; and

                  Wm!IREA.S, the Conservation Commission is of the opinion that the pro-

        posed pipe line system will be of benefit to all of the people of' the State

        of' Michigan and in furtherance o:f the public welfare; and

                  WBEl!l!lAS, the Conservation Commission duly considered the applica-
        tion of Grantee and a.t its meeting held on the l'.3th dey of February, A, D.

        1953, approved the conveyanc.e of an easement.




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                  NOW, THEEEFORE, £or and in consideration of the s'\llll of ~wo

        Thousand Four Hundred Fif'ty Dollars ($2,450. oo), the receipt o:f' which      id
         hereby acknowledged, and £or and in consideration of the 'Ulldertakings of

         Grantee and subject to the terms and condiUons set forth herein, Gran.tor

         hereby conveys a,nd quit claims, without warranty express or implied, to

        Grantee an easement to construct, lay, maintain, use and operate two (2)

        pipe lines, one to be located within each of the two parcels of bottom lands

        hereinafter described, and each to consist of twenty.inch (20 11 ) OD pipe,

         together with anchors and other necessary appurtenances and fixtures, for

        the purpose of transporting any material. or substance which can be conveyed

        through a pipe line, over, through, under and upon the portion of the bottom

        lands of the Straits of Mackinac in the State of Michigan, together with the

        right to enter upon said bottom·land.s, described as follows:


                 All bottom.lands of tbe Straits of Mackinac, in the State
                 0£ Michigan, lying w:I. thin an area of fifty (50) feet on
                 each side of the following two center lines:


                   (l) Easterlx Center ~ : J3eginning at a point on the
                  northerly shore line of the Straits of Mackinac on a
                  bearing of South twent;r-four degrees, no minutes and thi:rty-
                 -six seconds East (S 24° 00 1 36 11 E) and distant one thousand
                  seven hundred. and twelite and eight-tenths :feet (1,712.8')
                  from United States Lalre Suro/ey Triang11lation Station 11 Green11
                  (United States Lake Survey, Latitude 4S 0 .50 1 00 11 • Longitude
                 8411 44 1 58 11 ), said point of 'beginning being the intersection
                  of the center line of a. twenty inch (2011 ) pipe line and the
                  said northerly shore line; thence, on a. bearing of South
                 fourteen degrees thirty-seven minutes and fourteen seconds
                 West (S 14a 37 1 1411 W) a distance 0£ nineteen thousand one
                 hundred and forty-six and no tenths feet (19.146.0 1 ) to a.
                 point on the southerly shore line of the Straits of Mackinac
                 which point is the intersection of the said center 1.ine of .
                  the twenty inch (20 11 ) pipe line and the said. southerly
                  shore line; and is distant seven hundred a.nd seventy-four
                 and seven tenths feet (?74o '7 1 ) and on a. bea.r ing of South
                  thirty-six degrees, eighteen minutes and forty-five seconds
                 West (S 36° 18 1 45 11 W) from United States Lake Survey Tri-
                 angulation Station 11 A. Mackinac West J3ase 11 (United States




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                  Lake Survey. La.ti tu.de 4.5° 47 1 1411 • Longi tu.de 84°
                  46• 2211 ).

                    (2) Westerlz Center~: :Beginning at a point on the
                   northerly shore line of the Straits of Mackinac on a.
                   beal!ing of South forty-nine degrees• twenty-five minutes
                   and forty-seven seconds East (S l-1-9° 2.5 1 47 11 E) and dis-
                   tant two thousand six hundred. and thirty-four and nine
                   tenths feet (z 1 634.9i) from United States Triangulation
                       ,o
                   Station 11 Green11 (United States Lake Survey, Latitude
                   4-.5° 1 00 11 , Longitude 84° 44 1 .58 11 ) said point of be-
                  ginning being the intersection of the center line of a
                   twenty inch (20 11 ) pipe line and the said northerly shore
                   line; thence on a bearing of South fourteen degrees,
                   thirty-seven minutes and fo1.1Dteen seconds West (S 14°
                   '.37 1 1411 W), a distance 0£ nineteen thousand four hundred
                   and sixty-five and no tenths feet (19,465.01) to a ~oint
                  on the southerly shore line of the Straits of Mackinac
                  which point is the intersection of ·hhe ea.id center line
                  of the twenty inch (20 11 ) pipe line and the said southerly
                   shore line and is distant one thousand no hundred and
                  thirty-six and £our tenths £eat (1 0 036.4 1 ) on a bearing
                  of South sixty-three degroeso twenty minutes end fifty-
                  four seconds East (S 6';° 20 9 5411 E) from United Sta.tee
                  Lake Survey Triangulation Station 11 A. Maokinac West
                  :Base11 (United States Lake Survey, Latitude 4.5° 47 1 14 11 ,
                  Langi tu.de 84° 46 I 2211 ) •


                  TO HAVE AND TO HOLD the said easement unto said Grantee, its
         successors and. assigns, subject to the terms and conditions herein set
         forth, until terminated as hereinafter provided.

                  This easement is granted subject to the following terms and

         conditions:

                  A. Grsntee    in its    exercise of rights under this easement,
                  inoludi:Dg its desig~ing, constructing, testing, operating,
                  maintaining, 8lld, in the event of tihe termination of this
                  easement, its abandoning of said pipe lines, shall follow
                  the usual. necessary and proper procedures for the t;y-pe of
                  operation involved, and at e11'times shall' exercise the due
                  care of a. reasonably prude:nt person for the sai'ety and weJ£a.re




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               of all persons and of all public and private property,

                shall COill.PlY wit,all laws of the State of Michigan and
                                   ! •     ,
               of the Federal G eminent, unless Grantee shall be con-

               testiIJg the same in good fa:Lth b;v appropriate proceedixigs,
                and, in addition, Grantee shall compl;y with the followiIJg

                minimum specifioa.tions 9 conditions and requirements, unless
               ·co:mpliance therewit"b. is waived or the specifications or

                bonditions modified in writing by GrSI1,tor:

                     (l)    All pipe line laid in water up to :fift;y

                     (SO) feet in depth shall be laid in a. ditch

                     with not less than fifteen (15) feet of cover.

                     The. ·cover shall taper off to zero (O) feet at

                     an approximate depth of sixty-five (65) feet.

                     Should it be discovered that the bottom material
                     is hard rock~ the ditch may be of lesser depth,

                     but still deep enough to protect the pipe lines

                     against ice and anchor damage.


                     (2)    Minimum te'sting specifications off the tweut;v          ,

                     inch (20"~ OD pipe lines shell be not less tha11,

                     the following:

                     Shop Test--_       -l,700 pounds })81.'   square inch gauge
                     Asseiqbl~ Test-----l,500.pounds per       square inch gauge
                     Inst.allationTast--1~200 pounds per       SQ.1:18.l'e   inch gauge
                     Operating Pressure- 600 :pounds per       square inch gauge


                     (:3)   All welded joints shall be tested by X-~.




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                    (4)    The minimum curvature of a:n7 seoti. on ·of

                    pipe sball be no less than two thousand end

                    fift7 (2,050) feet radius.

                    (.5)   Automatic gas-operated !:ilm.t-off ve.lves

                    shall be installed and ma:Lnta:lned on the north

                    end o:f each line.


                    (6) Automatic     check valves shall be installed

                    and maintained on the south ~:nd of each line.

                    (7)    The empty pipe shall have a. negative buoyancy
                    of thirti (30) or more pounds per linear foot.


                    (8)    Cathodic p~tection shall be installed to

                    prevent ~eterioration of pipe.

                    (9)    All. pipe s~ll be protected b;y asphalt primer

                    coat, by inner wrap and outer wrap composed of
                    glass fiber fabric material. and one inch by- i'cm.r

                    :l.noh (1 11 x 4 11 ) slats, 1)1'ior to installation.

                    (10)    The ma.ximwn span or length of pipe unsupported

                    shell not exceed seventy-five (7S) f~et.

                    (11)    The pipe weight shall not be less than one

                    hundred sixty (160) po1ll),dS per linear fo_ot.


I.
                    (l.2) · The maximum c~rbon content of· the steel, from

                    which the pipe is manufactured, shall not be in

                    excess of_   ,247 per   oent.




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                     (13) ln locations where fill is used, the top•of the
                     fill sball be no less than fifty (50) feet wide.

                     (l4)        In respect to ot~er specifications, the line
                     sbal.l b~ constru.cted in co:af'ormance with the ~etailed

                     plans and specifications heretofore filed by Grantee
                     with Lands Division, Department of Consenation of
                     the State of Michigan.

                E.   Grantee shall give timely-notice to the Gre.ntor in writing:

                     (1) Of the time and place for the commencement of
                     construction over, through, under or upon the bottom
                     lands covered by this e~sement, said notice to be
                     given at lea.st five (5) days in advance thereof:

                     (2)     Of compliance with any and all requirements of

                     the United States Coast Guard for marking the location
                     :           •       '   ~   1
                             •       '           I
                     of said ]?ipe lines;

                     ('.3)   Of the filling of said pipe lines with oil or
                     any other substance being transported. commerially;

                     (4) · Of eny breaks or leaks discovered by Grantee in

                     said pipe lines, said notice to be given by telephone
                     promptly upon discovery and therea.t'ter confirmed by
                                                            .              .
                     registered mail,




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                      (S)   Of the completion of any repairs of said
                      pipe lines, and time of testing thereo£v said
                      no~ice to be given in sufficient time to per-
                      mit Grantor's authorized representatives to be
                      present e.t the inspection and testing of the
                      pipe lines after said repairs; and

                      (6)   Of any plall or intention of Grantee to

                      abandon said pipe lines, said notice to be
                      given at least sixty (60)'days prior to coinmence-
                      ment of abe.ndonment operations.

                o.   The easement herein conveyed may be terminated by
                Grantor:

                      (1)   If~ a£ter being   notified in writing by
                      Grantor of any specifi~d breach of the terDS
                      and conditions of this easement, Grantee shall
                      fail to correct said breach within ninety (90)
                     days, or~ having coJlllllenced remedial. action within
                      such ninety (90) day period, •such later time as
                      it is reasonably possible for the Grantee to cor-
                      rect said breach by appropriate action and the
                      exercise of due diligence in the correction thereof;
                     or




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                      (2)   If Grantee fails to start construction of
                      the pipe lines authorized herein within two years
                      from date of execution of this instrument; o~

                      (3)   If Grantee fails for a-rr:, consecutive three-
                      year period to meke substantial use of said pil)e

                      lines conunercial],y a.nd also fails to maintain said
                     pipe lines during said period in such condition as
                      to be available to. commercial use within thirty
                      _( :;o) days.

                D,   Construction pf the pipe lines contemplated by this
                instrument eba.ll not be comm~nced until all. necessary authori-

                zation and assent of the Corps of Engineers, United States
                Army, so far as'concerns the public rights of navigation,
                shaJ.l ha.ve been obtained.


                E.   In the event of any relocation, replacement, major repair,
                                      I    •     '
                or abe.ndonment of ei thar o:f' the pipe lines authorized by this
                easement 0 Grantee shall obtain Grantor 1 s written approval af
                procedures. methods and material.a to be followed or used prior
                to commencement thereofo

                F • ~he maxilllllD'l operating pres eur.e 0£ either of ea.id pipe lines

                shall not exceed six hundred (600) pounds per square inch
                gauge.




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                      If. there is a break or leak or           al'!,   apparent break or
                leak: in either of Said pipe lines. or if Grantor notifieJ
                Grantee that it has good and sufficien~ evidence that
                there is or ms;v be a. break   or   leak therein. Grantee shall
                immediately and completely shut down the pipe line involved

               •and said pipe line shall not be placed in operation unt 11

                Grantee has conducted a shut-in two (2) hour pres"ure t,est
                of six hundred (600) pounds per square inch gauge showing ·
                that no substance is e~caping f:rom a break or leak in said
                pipe line.

                Go   If oil or other substance escapes from a break or leak :ln

                the said pipe lines, Grantee shall illllllediatel;r take all usual 0

                necessaey ~d proper measures to eliminate any oi~ or other
                substance which may escape.,

                H.   In the event the easement herein conyeyed. is termine.ted
                with respect to either or both of said pipe lines, or i ! any
                pe:"t or portion of a pipe line is a.bsndoned, Grantee shall
                                  i   .,                   .

                take all of the ueu.al, :necess~r;y       end    proper abandonment pro-
                cedures as required and approved by Grantor~                  Said abandon-
                ment operations shllll be campleted to the satisfaction of
                Grantor within one year aft~:r aey abandonment of anJ part
                _or portion of a. pipe line; or in event of termination of this
                easement. within one year thereetter~                   After the e~iration
                0£ one year fol1owi11g the termination or· this               easement. Gran,ee




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                                 I   ~   •




                shall a.t the option of Gra.ntor quit claim to the State of Michigan
                all of its right, t:l.tle and interest. in or to any pipe line, appurte-
                nances or fixtures remaining over, through, uno.er or upon the bottom
                lands covered by-this easement.        Abandonment procedures as used
                herein include all operations tba.t may be reasonaoly necessary to
                     '                                       .
                protect life and property from subsequent injucy.

                l• Grantee shell pel'lllit Grantor to inspect at reasonable times
                and places its records of oil.or aey other substance beiJJg trans-
                ported in said pipe lines and shall, on request. submit to
                Gra.ntor inspection reports coveriDg the automatic shut-off and
                check.valves and metering stations used in connection with the
                Straits of Mackinac crossing.

                J.       (l) Grantee shall indemnify and hold harmless the State of
                Michigan from ell damage or losses caused to propert;r (includiJJg
                property beloziging to or held in trust by the State of Michig~),
                or persons due to or a.ris~zig out of the operations or actions of
                Grantee, its employees, _servant~ and agents hereunder.      Grantee
                shall .place. in effect prior to the construction of the pipe lines
                authorized by this easement and shall maintain in full force and
                e:f.'fect durlJJg the lite of thia easement, and until Grantor has
                approved colll,Pletion o~.abandonment operations, a Com,prehensive
                l3odi1y Injury and Pro_pe:rty Damage Liability policy, bond or surety,
                in fO'l'm and substance acceptable to Grantor in the sUIJ\ of at least
                One Million Dollars ·($l1000o000.00), covering the liability herein
                imposed upon Grentee.




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                      (2)   Gra.nte~~ prior to commencing construction of

                      the pipe lines autho~ized by this easement, shall

                      provide the stc1;ta of Michigan with a surety bond

                      in the penal sum of One Hundred !l!housand Dollars

                      ($lOO,ooo~oo) in form and substance acceptable to
                      Grantoro and. surety or sureties approved by Grantor,

                      to wello truly and £aithi'u.lly perform the terms,

                      conditions and requirements of this easement.      Said

                      bond shall be maintained in full force and effect

                     . during the life 0£ this easement and until Grantor

                      has approved completion of Grantee 1·s abandonment

                      operations.   Said bond shell not be reduced in amount

                      except with the written ponsent o:t: Gra.ntor.


               K.    Grantee shall within sixty (60) days theree.:fter notify, .
               Grantor in ,1riting of any assignment    of   this easement.


                L.   The terms and conditions of this easement shall. be bind-

               ing upon and i:mtre to the benefit of the respective sucoessors

               and assigns of Grantor and Grantee.


               M• .All rights not specifically conveyed herein are reserved
               to the st~te 0£ Michigan.




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                  N.     Grantee shell not improvise, construct or maintain

                  ship-to-shore or ship-to-pipe line loading or unloadttrg

                  facilities overp through, under or upon any of the bottom
                  lands herein described-for the purpose of removing material

                  from or injecting Mterial into said pipe lineso


                  o.     Grantor shall ha.ve the right at all reasonable times

                  and places to inspect the pipe lineso appurtenances and

                  fixtures authorized by this ee.se~ent ...

                  P.     It shall not "be a breach o:f the terms anp. conditions

                  of this easement 1:f' £or opera.ting or maintenance reasons

                  Grantee shall make use of only one of said pipe lines at

                  a    timeo

                  q,. Where provision is made he~ein that Grantee shall obtain
                  the authorization, approval or consent of ~antor, Gra.ntor

                  agrees that it will not unreasona.bl;r withhold the sameo


                  IN WI!fNESS WHEBEOF 0 the State of Michigan by the Conservation

         Commission, by Weyland o·sgood, Depu.ty Director, aoti:ng pursuant to authority

         specifically conferred upon him, has caused. this instrwnent to be executed.
         this twenty-third day of AprilP A.D. 19S3o

         Signedp Sealed and Delivered,                      S'l!A'J!E OF MICHIGAN
         in the Presence of:                                llY 'l!BE OONSERVA!l!ION COMMISSION


         /s/ Jane :Bower                                    B;v.  /s/ Wayland Osgood
        Jane Bower                                             Wa;yland Osgood, Deputy Direetor,
                                                               pursuant t e> resolutions of the
                                                               Conservation Commission dated
         /s/ Eliza.beth Soule                                  Febru.ar;y l'.3, 1953 and Jul;y 10,
        Elizabeth Soule                                        1951




                                                    -12F-
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Case




         S'l'ilE OF MICHIGAN)
                            )     ss.
         COUNTY OF INGHAM )




                  On this twenty-third. day of' April, A,D. 1953, before me, a

         Motary Pu.blio, in and for said county, personally appeared Wayland Osgood,

         Deputy Director, known by me to be the person who executed the within

         instrument and who J being duly aworn, deposes and says tha.t he is the duly

         appointed deputy director of the Conservation Commission and that he

         executed the within easement under authority specifically conferred upon

         him by law and by the Conservation Commission at its meetings held on

         February 130 19.53 and July 10g 1951, and who acknowledged the same to be

         his free act and deed end the free act and. deed of the State of Michigan

         by the Conservation Oo.mmission, in whose behalf he acts.



                                            •    /e/ O. R. Humphrys
                                            a. R. Humphcys, Notary Public, Inglwm County, Michigan
                                            My Commission ex:pires September 20, l95!J.

         Examined and approved 4/23/53
         as to legal form and effect:


         IslR. Glen Dunn
        Assistant Attorney General




L__
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                             EXHIBIT 2
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                                  STATE OF MICHIGAN
                              OFFICE OF THE GOVERNOR
                      DEPARTMENT OF NATURAL RESOURCES


         NOTICE OF REVOCATION AND TERMINATION OF EASEMENT
                                    INTRODUCTION
          Through Governor Gretchen Whitmer and the Department of Natural
   Resources, the State of Michigan hereby provides formal notice to Enbridge (as
   defined below) that the State is revoking and terminating the 1953 Easement. The
   1953 Easement authorized Lakehead Pipe Line Company, Inc., and its successors, to
   operate dual pipelines in the Straits of Mackinac to transport petroleum and other
   products. As more fully described below, the Easement is being revoked for violation
   of the public trust doctrine, and is being terminated based on Enbridge's
   longstanding, persistent, and incurable violations of the Easement's conditions and
   standard of due care. The revocation and termination each take legal effect 180 days
   after the date of this Notice to provide notice to affected parties and to allow for an
   orderly transition to ensure Michigan's energy needs are met. Enbridge must cease
   operation of the Straits Pipelines 180 days after the date of this Notice.
                                     BACKGROUND
         On April 23, 1953, the Conservation Commission of the State of Michigan
   granted an easement entitled "Straits of Mackinac Pipe Line Easement Conservation
   Commission of the State of Michigan to Lakehead Pipe Line Company, Inc." ("1953
   Easement" or "Easement"), a copy of which is attached as Exhibit 1.
         The Easement was issued by the Conservation Commission under the
   authority of 1953 PA 10 and in consideration of a one-time payment of $2,450.00 by
   the Grantee to the Grantor.
          Subject to its terms and conditions, the Easement granted Lakehead Pipe Line
   Company, Inc., the Grantee, and its successors and assigns, the right "to construct,
   lay, maintain, use and operate" two 20-inch diameter pipelines for the purpose of
   transporting petroleum and other products "over, through, under, and upon"
   specifically described public trust bottomlands owned by the State of Michigan in the
   Straits of Mackinac.
         The two pipelines subject to the Easement ("Straits Pipelines" or "Pipelines")
   were completed in 1953 and thereafter have been operated by the Grantee and its
   successors.
         The Grantee's current successors, Enbridge Energy, Limited Partnership,
   Enbridge Energy Company, Inc., and Enbridge Energy Partners, L.P. (collectively
   "Enbridge"), operate the Straits Pipelines as part of the Enbridge Line 5 pipeline that
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   extends from Superior, Wisconsin and across Michigan, to Sarnia, Ontario. Line 5,
   including the Straits Pipelines, currently transports an average of 540,000 barrels or
   22,680,000 gallons of crude oil and/or natural gas liquids per day.
        The Governor is the chief executive officer of the State of Michigan. The
   Department of Natural Resources ("DNR") is the successor to the Conservation
   Commission, Grantor of the 1953 Easement.
         On June 27, 2019, Governor Gretchen Whitmer directed the DNR to undertake
   a comprehensive review ofEnbridge's compliance with the 1953 Easement. The DNR
   submitted several requests to Enbridge to provide documents and information
   pertaining to its compliance with the Easement. Beginning in February 2020 and
   ending in June 2020, Enbridge provided some documents in response to these
   requests. 1
          This Notice is based on review of the records recently submitted by Enbridge,
   other documents in the public domain, and the legal and factual grounds specified
   below.
       I.   REVOCATION OF EASEMENT PURSUANT TO THE PUBLIC TRUST
            DOCTRINE
         The State of Michigan, in both its sovereign and proprietary capacities, 1s
   revoking the Easement pursuant to the public trust doctrine.
            A.    The Public Trust Doctrine
         In Glass v Goechel, 473 Mich 667, 678-679 (2005), the Michigan Supreme Court
   held that the state, as sovereign, is obligated to protect and preserve the waters of,
   and lands beneath, the Great Lakes. "The state serves, in effect, as the trustee of
   public rights in the Great Lakes for fishing, hunting, and boating for commerce or
   pleasure." Id. at 679 (emphasis added). 2


   1 Among other things, the DNR included a request for records confirming that Enbridge
   systematically has undertaken efforts (inspections, investigations, assessments and
   evaluations) to comply with the Easement from its issuance in 1953 to the present. In
   response, Enbridge produced few contemporaneous records and little evidence that it
   conducted a pipeline inspection and maintenance program from 1953 to the late 1990s or
   early 2000s - i.e., during most of the Easement's existence.
   2 The Michigan Legislature has recognized the public trust doctrine in various state statutes.

   For example, Part 17 of the Natural Resources and Environmental Protection Act ("NREPA"),
   the Michigan Environmental Protection Act, grants broad standing to any person to file an
   action in circuit court "against any person for the protection of the air, water, and other
   natural resources and the public trust in these resources from pollution, impairment, or
   destruction." MCL 324.1701(1) (emphasis added). In Part 301 of NREPA, Inland Lakes and
   Streams, the Department of Environment, Great Lakes, and Energy is prohibited from
   issuing a permit for a proposed project or activity if it will "adversely affect the public trust,"



                                                   2
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           These public rights are protected by a "high, solemn and perpetual trust, which
   it is the duty of the state to forever maintain." Collins v Gerhardt, 237 Mich 38, 49
   (1926) (emphasis added). As the Michigan Supreme Court long ago explained, "[t]he
   state is sovereign of the navigable waters within its boundaries, bound, however, in
   trust, to do nothing in hindrance of the public right of navigation, hunting and
   fishing." Nedtweg v Wallace, 237 Mich 14, 20 (1926).
          Both the United States Supreme Court and the Michigan Supreme Court have
   held that the public trust doctrine strictly limits the circumstances under which a
   state may convey property interests in public trust resources. In Illinois Central
   Railroad Co v Illinois, 146 US 387, 455-456 (1892), the United States Supreme Court
   identified only two exceptions under which such a conveyance is permissible:
          The trust with which they are held, therefore, is governmental, and
          cannot be alienated, except in those instances mentioned, of parcels used
          in the improvement of the interest thus held, or when parcels can be
          disposed of without detriment to the public interest in the lands and
          waters remaining.
         The Court held that because neither of those conditions was satisfied by a state
   statute purporting to grant submerged lands along the Chicago lakefront to a private
   company, a subsequent state statute revoking that grant and restoring public rights
   was valid and enforceable. Id. at 460.
           In Obrecht v National Gypsum Co, 361 Mich 399, 412 (1960), the Michigan
   Supreme Court declared that "[l]ong ago we committed ourselves . . . to the
   universally accepted rules of such trusteeship as announced by the Supreme Court
   in Illinois Central," including Illinois Central's delineation of the limited conditions
   under which public trust resources may be conveyed:
          [N]o part of the beds of the Great Lakes, belonging to Michigan and not·
          coming within the purview of previous legislation ... can be alienated
          or otherwise devoted to private use in the absence of due finding of one
          of two exceptional reasons for such alienation or devotion to non-public
          use. One exception exists where the State has, in due recorded form,
          determined that a given parcel of such submerged land may and should
          be conveyed 'in the improvement of the interest thus held' (referring to
          the public trust). The other is present where the State has, in similar
          form, determined that such disposition may be made 'without detriment
          to the public interest in the lands and waters remaining.'



   which includes consideration of uses of lakes and streams for "recreation, fish and wildlife,
   aesthetics, local government, agriculture, commerce, and industry." MCL 324.30106
   (emphasis added). And, as noted in footnote 3 below, Part 325 of NREPA, Great Lakes
   Submerged Lands, includes "hunting, fishing, swimming, pleasure boating, or navigation" as
   public uses. MCL 324.32502 (emphasis added); see also, e.g., MCL 324.32503 & .32505.


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    Obrecht, 361 Mich at 412-413, quoting Illinois Central, 146 US at 455-456 (emphasis
    added). The Michigan Legislature has incorporated and codified that common-law
    standard and "due finding" requirement into Part 325 (Great Lakes Submerged
    Lands) of the Natural Resources and Environmental Protection Act, MCL 324.32501
    et seq. 3
          B.      The 1953 Easement Violated the Public Trust and Was Void
                  From its Inception
         The 1953 Easement violated the public trust doctrine from its inception
   because the State never made a finding that the Easement: (1) would improve
   navigation or another public trust interest; or (2) could be conveyed without
   impairment of the public trust. The Easement itself contains no such findings, and
   there is no contemporaneous document in which the State determined that the
   proposed Easement met either of the two exceptions. In fact, there is no indication
   whatsoever that the Conservation Commission determined that the conveyance of the
   Easement and the operation of the Straits Pipelines would improve public rights in
   navigation, fishing, or other uses protected by the public trust. Moreover, there is no
   evidence that the Commission determined that the Pipelines' operation could not
   adversely affect those rights. 4
          Also, contemporaneous approval of the construction of what is now Enbridge's
    Line 5 in Michigan by the Michigan Public Service Commission ("PSC") lacked any
    such public trust findings and determinations. 5
        Finally, the enactment of 1953 PA 10, the statute authorizing issuance of the
   Easement, does not evidence a finding that either of the public trust limitations would

    3See, e.g., MCL 324.32502 (conveyance of property interests in submerged lands allowed
   "whenever it is determined by the department that the private or public use of those lands
   and waters will not substantially affect the public use of those lands and waters for hunting,
   fishing, swimming, pleasure boating, or navigation or that the public trust in the state will
   not be impaired by those agreements for use, sales, lease, or other disposition"); MCL
   324.32503(1) (requiring a "finding that the public trust in the waters will not be impaired or
   substantially affected" in order to "enter into agreements pertaining to waters over and the
   filling in of submerged patented lands, or to lease or deed unpatented lands"); MCL
   324.32505(2) (requiring a "finding that the public trust will not be impaired or substantially
   injured" in order to "allow, by lease or agreement, the filling in of patented and unpatented
   submerged lands and allow permanent improvements and structures").
   4
     The 1953 Easement lacks any mention of the two required findings and merely states the
   following: "WHEREAS, the Conservation Commission is of the opinion that the proposed pipe
   line system will be of benefit to all of the people of the State of Michigan and in furtherance of
   the public welfare" and "WHEREAS, the Conservation Com,mission duly considered the
   application of Grantee and at its meeting held on the 13th day of February, A.D. 1953, approved
   the conveyance of an easement."
   5   PSC Opinion and Order for the 1953 Line 5 pipeline (March 31, 1953),
   https://www.michigan.gov/documents/deg/Appendix A,3 493982 7.pdf.



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   be satisfied by the Straits Pipelines .. That legislation merely authorized the
   Conservation Commission to grant easements for pipelines, electric lines and
   telegraph lines on certain state lands and lake bottomlands, subject to terms and
   conditions determined by the Commission. The statute did not find or determine that
   the 1953 Easement, as subsequently granted, would either benefit public trust uses
   or not impair such uses of the Great Lakes and the bottomlands.
          In the absence of either of the due findings required under the public trust
   doctrine, the 1953 Easement was void from its inception.
          C.    Current and Continued Use of the Straits Pipelines Violates
                the Public Trust
          As noted above, public rights in navigable waters "are protected by a high,
   solemn, and perpetual trust, which it is the duty of the state to forever maintain."
   Collins, 237 Mich at 49 (emphasis added). The State did not surrender its trust
   authority and concurrent responsibilities when it granted the 1953 Easement to
   Enbridge's predecessor. "The state, as sovereign, cannot relinquish [its] duty to
   preserve public rights in the Great Lakes and their natural resources." Glass, 4 73
   Mich at 679. A state's conveyance of property rights "to private parties leaves intact
   public rights in the lake and its submerged land .... Under the public trust doctrine,
   the sovereign never had the power to eliminate those rights, so any subsequent
   conveyances ... remain subject to those public rights." Id. at 679-681 (emphasis
   added).
           Under Michigan law, all conveyances of bottomlands and other public trust
   resources are encumbered by the public trust. Nedtweg, 237 Mich at 17. When the
   State conveys a property interest in Great Lakes bottomlands, "it necessarily conveys
   such property subject to the public trust." Glass, 4 73 Mich at 679. Even if initially
   valid, the 1953 Easement remains subject to the public trust and the State's
   continuing duty to protect the Great Lakes public trust resources. Indeed, the
   Easement itself broadly reserved the State's rights. 1953 Easement, Paragraph M
   ("All rights not specifically conveyed herein are reserved to the State of Michigan.").
          As the United States Supreme Court held in Illinois Central, a grant of
   property rights in public trust resources "is necessarily revocable, and the exercise of
   the trust by which the property was held by the state can be resumed at any time."
   146 US at 455. In that case, the State of Illinois subsequently determined that it
   should rescind its prior grant of lake bottomlands to a private entity and the Court
   upheld that action.
          Recent events have made clear that continued operation of the Straits
   Pipelines cannot be reconciled with the State's duty to protect public trust uses of the
   Lakes from potential impairment or destruction. As outlined below, transporting
   millions of gallons of petroleum products each day through two 67-year old pipelines
   that lie exposed in the Straits below uniquely vulnerable and busy shipping lanes
   presents an extraordinary, unreasonable threat to public rights because of the very


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   real risk of further anchor strikes and other external impacts to the Pipelines, the
   inherent risks of pipeline operations, and the foreseeable, catastrophic effects if an
   oil spill occurs at the Straits.
          The Straits Pipelines are located where multiple lanes of heavy shipping
   activity converge and are oriented north-south, perpendicular to the direction of most
   commercial vessel traffic. Also, despite near-shore sections of the Straits Pipelines
   (those in waters less than 65 feet deep) being laid in trenches and covered with soil,
   most of each Pipeline was placed and remains on or above the State-owned lakebed,
   exposed in open water and with no covering shielding it from anchor strikes or other
   physical hazards.
          In October 201 7, Dynamic Risk Assessment Systems, Inc. ("Dynamic Risk"),
   an independent c·onsulting firm working under a contract with the State of Michigan,
   issued the final report of its Alternatives Analysis for the Straits Pipelines ("Dynamic
   Risk Report") that included, among other things, an analysis of the risks associated
   with continued operation of the existing Pipelines. Dynamic Risk determined that the
   dominant threat of a rupture to the Pipelines is the inadvertent deployment of
   anchors from ships traveling through the Straits. The Report noted that inadvertent
   anchor strikes are known in the industry to be the principal threat to offshore
   pipelines. They are both "increas[ing] in frequency" and "not influenced by mitigation
   measures."6
          According to the Dynamic Risk Report, the risk of a pipeline-anchor incident
   depends largely on four "vulnerability factors": (1) size of the pipeline; (2) water depth
   (relative to anchor chain length); (3) pipeline protection (depth of burial, use of
   armoring material); and (4) number and size distribution of ship crossings per unit of
   time. Dynamic Risk found that the Straits Pipelines score high on all four of these
   factors. 7
          Recent events confirm that the threat of damage to the Straits Pipelines from
   anchor strikes or impacts from other external objects is very real. In April 2018, a
   commercial tug and barge vessel inadvertently dropped and dragged an anchor across
   the lakebed at the Straits. The anchor severed or dragged several electric
   transmission cables located on the bottom of the Straits near the Pipelines. The
   anchor actually struck and dented the Pipelines at three locations, though neither
   Pipeline ruptured. Fortunately, those strikes to the Pipelines happened to occur at
   locations where the Pipelines rest on the lakebed rather than other areas where they
   are suspended above it and are particularly vulnerable to anchor hooking.
         The 2018 anchor strike was not an isolated event. Most recently, in June 2020,
   Enbridge disclosed that both the east and west legs of the Straits Pipelines had been

   6 Dynamic Risk Report, p. 2-35,
   https://mipetroleumpipelines.com/document/alternatives-analysis-straits-pipeline-final-
   report.
   7 Id., pp. 2-36, 2-42 to -43.




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   hit by external objects, apparently cables or anchors deployed from vessels operating
   near the Pipelines, most likely in 2019. Those impacts damaged pipeline coatings
   and, at one location on the east Pipeline, severely damaged a pipeline support
   structure previously installed by Enbridge. Tellingly, none of the measures
   implemented by Enbridge since the April 2018 incident to mitigate the risk of anchor
   strikes was sufficient to prevent or even contemporaneously detect the recently
   disclosed impacts to the Pipelines. And while the specific cause(s) of the impacts has
   not yet been determined, Enbridge's own reports on these events conclude that four
   of the five vessels potentially responsible for the impacts were operated by Enbridge's
   own contractors. 8
          According to Dynamic Risk, even apart froni their unique vulnerability to
   anchor strikes, operation of the Straits Pipelines presents inherent risks of
   environmental harm. Dynamic Risk sought to identify what it classified as the
   "Principal Threats," i.e., "Threats for which an evaluation of susceptibility attributes
   indicates a significant vulnerability, and that have the potential to provide the most
   significant contributions to overall failure. probability." 9 The threats considered
   included "incorrect operations," which were described as follows:
         The threats to transmission pipeline integrity from incorrect operations
         include, but are not necessarily limited to accidental over-
         pressurization, exercising inadequate or improper corrosion control
         measures, and improperly maintaining, repairing, or calibrating piping,
         fittings, or equipment. 10
          Dynamic Risk concluded that notwithstanding the various operational and
   procedural changes Enbridge adopted after the Marshall, Michigan Line 6B failure,
   "incorrect operations" remain a Principal Threat for the Straits Pipelines. 11
          The Straits of Mackinac are at the heart of the Great Lakes, a unique
   ecosystem of enormous public importance. As noted in "Independent Risk Analysis
   for the Straits Pipelines," Michigan Technological University (September 2018), a
   report commissioned by the State and carried out by a multi-disciplinary team of
   experts ("Michigan Tech Report"):
         The Straits of Mackinac hydraulically link Lakes Michigan and Huron .
         . . and are wide and deep enough ... to permit the same average water
         level in both water bodies, technically making them two lobes of a single
         large lake. The combined Michigan-Huron system forms the largest
         lake in the world by surface area and the fourth largest by volume,
         containing nearly 8% of the world's surface freshwater. The Straits of

   8 Enbridge Report, Investigation of Disturbances to Line 5 in the Straits of Mackinac

   Discovered in May and June of 2020 (Updated August 21, 2020), p. 8.
   9 Dynamic Risk Report, p. 2-11 (emphasis added).

   10 Id., p. 2-37.
   11 Id., p. 2-47.




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         Mackinac serve as a hub for recreation, tourism, commercial shipping,
         as well as commercial, sport and subsistence [including tribal] fishing .
             12


         An oil spill at the Straits threatens a wide range of highly valuable resources:
         The waters and shoreline areas of Lake Michigan and Lake Huron
         including areas surrounding and adjacent to the Straits of Mackinac
         contain abundant natural resources, including fish, wildlife, beaches,
         coastal sand dunes, coastal wetlands, marshes, limestone cobble
         shorelines, and aquatic and terrestrial plants, many of which are of
         considerable ecological and economic value. These areas include
         stretches of diverse and undisturbed Great Lakes shorelines that
         provide habitat for many plant and animal species. 13
         Among other complicating factors, water currents in the Straits are unusually
   strong, complex, and variable:
         Water currents in the Straits of Mackinac can reach up to 1 [meter per
         second] and can also reverse direction every 2-3 days flowing either
         easterly into Lake Huron or westerly towards Lake Michigan.... Flow
         volumes through the Straits can reach 80,000 [cubic meters per second]
         and thus play essential roles in navigation and shipping in this region,
         the transport of nutrients, sediments and contaminants between Lakes
         Michigan and Huron, and also the ecology and biodiversity of this
         region. 14
          Consequently, oil spilled into the Straits could be transported into either Lake,
   and depending upon the season and weather conditions, could impact up to hundreds
   of miles of Great Lakes shoreline.15
          Crude oil contains toxic compounds that would cause both short- and long-term
   harm to biota, habitat, and ecological food webs. 16 Numerous species of fish,
   especially in their early life stages, as well as their spawning habitats and their
   supporting food chains, are also at risk from an oil spill.1 7 Viewed as a whole, the
   ecological impacts would be both widespread and persistent. 18



   12Michigan     Tech Report, p. 26,
   https://mipetroleumpipelines.com/files/document/pdf/Straits Independent Risk Analysis F
   inal.pdf.
   13 Id., p. 165.
   14 Id., p. 56.
   15 Id., pp. 68-69.
   16 Id., pp. 166-169, 176, 181-185.
   11 Id., pp. 192-199.

   1s Id., pp. 213-214.


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          And "[b]ecause of the unique and complex environment of the Great Lakes and
   the Straits area," it is uncertain how effectively and at what cost the affected
   resources could be restored. 19 The Michigan Tech Report also estimated several types
   of economic and natural resource damages that would likely result from a worst-case
   oil spill from the Straits Pipelines. 20 Among other findings, the Report estimated
   large damages to recreational fishing, recreational boating, commercial fishing, and
   commercial navigation, 21 all activities within the rights subject to the public trust.
           The Great Lakes and the Straits of Mackinac also have special ecological,
   cultural and economic significance for the tribes of Michigan, including, but not
   limited to, the tribes that retain reserved hunting, fishing and gathering rights in the
   lands and waters ceded to the United States under the 1836 Treaty ofWashington. 22
   An oil spill or release from the Straits Pipelines would have severe, adverse impacts
   for tribal communities. The tribes have fundamental interests in the preservation of
   clean water, fish and habitat at the Straits. Many tribal members rely on treaty-
   protected rights of commercial and subsistence fishing in the Straits and other Great
   Lakes waters that could be impacted by an oil spill or release.
          Enbridge's operation of the Straits Pipelines presents a substantial, inherent
   and unreasonable risk of an oil spill and such a spill would have grave ecological and
   economic consequences, severely impairing public rights in the Great Lakes and their
   public trust resources. While Enbridge has proposed to replace the existing Pipelines
   with a new pipeline to be constructed in a tunnel beneath the lakebed, that project is
   likely years away from completion at best. For all these reasons, the Governor and
   the Director of the Department of Natural Resources find that Enbridge's use of the
   Straits Pipelines is contrary to and in violation of the public trust.
          D.     The December 19, 2018 Third Agreement Between the State of
                 Michigan and Enbridge Does Not Preclude Revocation of the
                 1953 Easement
         On December 19, 2018, the then Governor of Michigan, the then Director of
   the DNR, the then Director of the Department of Environmental Quality, and
   representatives of Enbridge signed a document entitled "Third Agreement Between
   the State of Michigan, Michigan Department of Environmental Quality, and
   Michigan. Department of Natural Resources and Enbridge Energy, Limited
   Partnership, Enbridge Energy Company, Inc., and Enbridge Energy Partners, L.P ."
   ("Third Agreement") relating to the Straits Pipelines. The Third Agreement provided

   19 Id., pp. 261-263.
   20 Id., pp. 272-318.
   21 Id., pp. 285-294.
   22 Those tribes are the Bay Mills Indian Community, the Grand Traverse Band of Ottawa

   and Chippewa Indians, the Little River Band of Ottawa Indians, the Little Traverse Bay
   Bands of Odawa Indians, and the Sault Ste. Marie Tribe of Chippewa Indians. The exercise
   of those rights in the Great Lakes is covered by the 2000 Consent Decree in United States v
   Michigan to which the State of Michigan is a party.


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   that, subject to specified conditions, Enbridge could continue to operate the existing
   Straits Pipelines pending completion of a tunnel beneath the Straits and of a Straits
   Line 5 Replacement Segment to be constructed and operated within the proposed
   tunnel.

         Specifically, Article 4.1 of the Third Agreement states:
         4.1    The State agrees that Enbridge may continue to operate the Dual
         Pipelines, which allow for the functional use of the current Line 5 in
         Michigan, until the Tunnel is completed, and the Straits Line 5
         Replacement segment is placed in service within the Tunnel, subject to
         Enbridge's continued compliance with all of the following:
         (a)    The Second Agreement;
         (b)    The Tunnel Agreement;
         (c)    This Third Agreement;
         (d)    The 1953 Easement; and
         (e)    All other applicable laws, including those listed in Section V of
                the Second Agreement. (Emphasis added.)
          Notwithstanding the Third Agreement, the 1953 Easement is subject to
   revocation under the public trust doctrine, and the Third Agreement's stated
   conditional right to continue to operate the Straits Pipelines does not preclude that
   revocation, for at least two reasons. First, as detailed below in Section II of this
   Notice, Enbridge incurably has violated and continues to violate the 1953 Easement.
   Second, as set forth above, the public trust doctrine is among the laws that apply to
   the existing Straits Pipelines and Enbridge's continued operation of the Pipelines
   violates the public trust.
         Section 4.2 of the Third Agreement states in part:
         4.2   Provided that Enbridge complies with Section 4.1 above, the
         State agrees that:

                                              ***
         (c)    The replacement of the Dual Pipelines with the Straits Line 5
                Replacement Segment in the Tunnel is expected to eliminate the
                risk of a potential release from Line 5 at the Straits.
         (d)    In entering into this Third Agreement, and thereby authorizing
                the Dual Pipelines to continue to operate until such time that the
                Straits Line 5 Replacement Segment is placed into service within
                the Tunnel, the State has acted in accordance with and in
                                                                           '
                furtherance of the public's interest in the protection of waters,



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                waterways, or bottomlands held in public trust by the State of
                Michigan.
          The language of Section 4.2 quoted above does not and cannot preclude the
   revocation of the 1953 Easement under the public trust doctrine for at least the
   following reasons. To begin, it is expressly conditioned on Enbridge's compliance with
   Section 4.1; as discussed, Enbridge is not, and has not been, in compliance with that
   provision. Furthermore, nothing in Sectiori 4.2 provides a "due finding" that
   Enbridge's continued use of public trust bottomlands and waters to operate the
   existing Straits Pipelines would either enhance the public trust or not impair the
   public trust uses of waters and lands at the Straits. Section 4.2(d) does not itself
   supply it. Nor does the related assertion in Section 4.2(c) that the eventual
   replacement of the existing Pipelines with a new pipeline in the proposed tunnel is
   expected to eliminate the risk of a potential release from Line 5 at the Straits. It
   simply does not follow from that assertion that continuing to operate the existing
   Pipelines until they are replaced would somehow enhance the public trust or not
   impair it. And nothing else in the Third Agreement suggests, let alone embodies, a
   finding that continued operation of the Pipelines now, before a tunnel is completed,
   mitigates the risk of releases from them. Nor, for that matter, could the requisite due
   finding have been made when the Third Agreement was signed in December 2018,
   given the substantial, inherent and unreasonable risk of grave harm presented by
   the continued operation of the Straits Pipelines. See Section LC, supra.
           Finally, even if the Third Agreement contained a lawful finding by the State
   officials who signed it in 2018 that Enbridge's continued operation of the Straits
   Pipelines is. consistent with the public trust-which it did not-any such finding is
   not permanently binding on the State and those former State officials' successors,
   who retain a solemn, perpetual and irrevocable duty to protect the public trust.
   Accordingly, the Third Agreement does not preclude the revocation of the 1953
   Easement for the reasons stated in this Notice.
    II.   TERMINATION OF EASEMENT FOR VIOLATION AND BREACH BY
          ENBRIDGE
          A.    Easement Terms and Conditions
                1.     Standard of Due Care
          Paragraph A of the 1953 Easement provides: "Grantee [originally Lakehead
   Pipe Line Company, Inc., now Enbridge] in its exercise of rights under this easement,
   including its designing, constructing, testing, operating, maintaining, and, in the
   event of termination of this easement, its abandoning of said pipe lines, shall follow
   the usual, necessary and proper procedures for the type of operation involved, and at
   all times shall exercise the due care of a reasonably prudent person for the safety and
   welfare of all persons and of all public and private property ...." (Emphasis added.)




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         The standard of due care under the Easement is that of a reasonably prudent
   person. The Merriam-Webster Dictionary's definition of "prudence" includes "skill
   and good judgment in the use of resources" and "caution or circumspection as to
   danger or risk." 23
                    2.     Compliance Obligations
          Paragraph A of the Easement further states: "Grantee shall comply with the
   following minimum specifications, conditions and requirements, unless compliance
   therewith is waived or the specifications or conditions modified in writing by Grantor
          "
         Among other requirements, the Easement includes specific conditions
   obligating the Grantee to: (1) maintain a maximum span or length of unsupported
   pipe not to exceed 75 feet; (2) protect all pipe with a specified coating and wrap; and
   (3) maintain a minimum curvature of any section of pipe of not less than 2,050 feet
   radius. 24
                    3.     Easement Termination
         Paragraph C.(1) of the Easement provides that the Easement may be
   terminated by Grantor "[i]f, after being notified in writing by Grantor of any specified
   breach of the terms and conditions of this easement, Grantee shall fail to correct said
   breach within ninety (90) days, or, having commenced remedial action within such
   ninety (90) day period, such later time as it is reasonably possible for the Grantee to
   correct said breach by appropriate action and the exercise of due diligence in the
   correction thereof ...."
         The stated timeframes for correcting a breach of the Easement presume that
   the identified breach or violation is "correctable." As more fully explained below,
   Enbridge has failed for decades to meet its compliance and due-care obligations under
   the Easement, and it remains in violation of those obligations. There is nothing
   Enbridge can do to change its past behavior and callous disregard for its duties under
   the Easement, and its breaches of the Easement's terms and conditions cannot be
   corrected or otherwise cured.
              B.    Enbridge Has Violated Conditions of the Easement and the
                    Easement's Standard of Due Care
         Enbridge has breached or violated the standard of due care and its obligations
   to comply with the conditions of the Easement in several fundamental and incurable
   ways.




   23   http s://www .merriam-we bster .com/dictionary/prudence.
   24   1953 Easement, Paragraphs A.(10), (9), and (4).


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                  1.     Unsupported Pipeline Spans or Lengths
          Paragraph A.(10) of .the Easement requires that each Pipeline must be
   physically supported (i.e., either rest on the lakebed or be supported by some other
   structure/device) at least every 75 feet. This prohibition of unsupported pipeline
   "spans" longer than 75 feet serves to protect the structural integrity of the Pipelines
   from stresses and vibrations that may be caused by the strong currents surrounding
   the Pipelines. Those same currents can erode the lakebed on which portions of the
   Pipelines rest, creating excessive spans.
          For virtually the entire time the Easement has been in place, Enbridge has
   ignored the 75' span requirement. 25 Documents provided by Enbridge confirm that
   since at least 1963 and continuing through 2012, Enbridge has known that multiple
   unsupported pipe spans have exceeded 75 feet but has failed to take remedial action
   to address the non-compliant spans:
      •   1963:   17 spans detected - action taken on 0 spans
      •   1972:   7 spans detected - action taken on 0 spans
      •   1975:   13 spans detected - action taken on 3 spans
      •   1982:   7 spans detected- action taken on 0 spans
      •   1987:   7 spans detected- action taken on 7 spans
      •   1992:   17 spans detected - action taken on 6 spans (4 spans exceeded 200':
                                                                216'; 221'; 292'; 359')
      •   1997:   45 spans detected- action taken on 0 spans (4 spans exceeded 200':
                                                                278'· 311'· 286'· 421')
      •   2001:   50 spans detected- action taken on 8 spans
                                                                    '     '     '
      •   2003:   62 spans detected- action taken on 16 spans
      •   2004:   75 spans detected- action taken on 16 spans
      •   2005:   40 spans detected- action taken on 14 spans,
      •   2006:   64 spans detected - action taken on 12 spans
      •   2007:   64 spans detected - action taken on 0 spans
      •   2010:   62 spans detected- action taken on 7 spans
      •   2012:   33 spans detected- action taken on 17 spans 26
          Spreadsheet data on pipe spans for Calendar Years 2005 through 2012
   provided by Enbridge further confirm that Enbridge failed to take timely corrective
   action to address span lengths known to exceed 75 feet for significant periods of time,

   25 In correspondence to then Attorney General Bill Schuette and then DEQ Director Dan

   Wyant, dated June 27, 2014, Enbridge refers to a Span Management Program employed by
   the company since constmction of the dual pipelines in the Straits of Mackinac. Despite this
   reference, Enbridge failed to produce any such document(s) or proof of the program's
   existence and later, through legal counsel, acknowledged that "Enbridge is not aware of a
   single document that fits this description." Correspondence from William Hassler to Steven
   Chester, dated May 8, 2020.
   26 Summary Information and Tables provided by Enbridge Counsel, June 22, 2020; and June

   27, 2014 Correspondence to Bill Schuette and Dan Wyant.


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   including data indicating delays ofup to 3 to 5 years to repair 17 noncompliant spans,
   7 years to repair 11 noncompliant spans, and 9 years to repair 17 noncompliant
   spans. 27
          Several documents submitted by Enbridge suggest that at some point in time
   the company chose to ignore the Easement's 75' span requirement and replace it with
   a 140' requirement for taking corrective action on unsupported pipe spans. These
   include a 2003 Onyx ROV Report that indicates Onyx detected 61 pipe spans
   exceeding 75' and yet only 17 spans exceeding 140' were repaired, leaving 44 pipe
   spans exceeding 75' unrepaired. Two other documents referring to a 140' span length
   are the 2004 Kenny Report and the 2016 Kiefner and Associates Report. 28
           Enbridge has failed to produce any records or evidence that the 75' span length
   requirement of the Easement was ever waived or modified in writing by the State of
   Michigan. Enbridge's apparent unilateral adoption of a 140' pipe span criterion in
   lieu of the 75' Easement condition was itself a violation of the Easement. For virtually
   the entire life of the Easement, Enbridge disregarded its obligation to comply with
   the 75' pipe span requirement, and even failed to take corrective action when pipe
   spans exceeded 200' in length (e.g., see above, unsupported spans of 216' to 421' in
   length).
           For decades, Enbridge violated and neglected its obligations under Paragraph
   A.(10) of the Easement, and its concomitant duties to inspect, timely repair, and
   disclose exceedances of pipe spans to the State of Michigan. In doing so, Enbridge
   exhibited an astonishing lack of candor and indifference to its due-care obligations
   under the Easement.
                2.     Pipeline Coatings
         Paragraph A.(9) of the Easement requires Enbridge to maintain a multi-layer
   coating on the Pipelines. This protective coating is intended to prevent the steel from
   being exposed to environmental factors that could cause corrosion or other physical
   damage.
          Since at least 2003, and continuing until 2014, Enbridge was on notice that
   heavy biota (i.e., mussels) accumulation on the Straits Pipelines made it impossible
   to do a detailed analysis of the integrity of the coating/wrap for the Pipelines over
   much of their length. Despite these repeated warnings, and notwithstanding its
   affirmative obligation under the Easement to ensure the integrity_ of the pipeline
   coating/wrap, documents submitted by Enbridge show it made little to no effort to
   undertake a more detailed study of the condition of the pipeline coating/wrap until
   2016-2017 - a gap of approximately 13-14 years from notice to response.


   27 Recent Enbridge Document Submittals; June 27, 2014 Correspondence to Bill Schuette and
   Dan Wyant; and November 19, 2014 Correspondence to Bill Schuette and Dan Wyant.
   28 Onyx Inspection Survey Report (2003); JP Kenney Survey of Spans Report (2004); and

   Kiefner and Associates Report (October 12, 2016).


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          The 2003 Onyx ROV Report stated that "[t]he focus of this inspection was to
   positively identify existing conditions, which could potentially compromise the safety
   of the line. Examples of these conditions could include exposed or unsupported areas
   of pipe, severely degraded or missing coating, or damage caused by impact .... The
   exposed portion of the pipeline is heavily covered in zebra mussel growth, making a
   detailed analysis of the coating and actual pipe condition impossible." (Emphasis
   added.) 29
         The very same notice and warning were repeated in the 2004 Onyx ROV
   Report, the 2005 Onyx ROV Report, the 2007 Veolia ROV Report, the 2011 Veolia
   ROV Report, and the 2012 Veolia ROV Report.
          In 2014, Ballard Marine Construction completed an ROV and diver inspection
   of the Straits Pipelines which stated that "a few instance [sic] of a small amount of
   coating delamination was observed." 30 Several years later, in a 2016 Inspection
   Report dated January 3, 2017, Ballard Marine once again found "a few instances of a
   small amount of coating delamination" and stated this information was similar to
   past findings including data obtained during the 2014 inspection. 31
          Despite such notice/warnings, Enbridge did not undertake a thorough
   investigation of the pipeline coating/wrap until it implemented a May 2017 Biota
   Work Plan required under a federal Consent Decree arising out of the Marshall,
   Michigan Line 6B failure. At last, after repeated warnings from Onyx (2003, 2004,
   and 2005) and Veolia (2007, 2011, and 2012), Enbridge committed to evaluating the
   effect of the biota (mussels) that covered much of the Straits Pipelines.
          Pursuant to the Biota Work Plan, Enbridge would also investigate so-called
   "holidays" (i.e., gaps exposing bare metal) in the external pipeline coating. In March
   2017, in response to questions raised by the Michigan Pipeline Safety Advisory Board,
   Enbridge publicly represented to the Board, whose members included State agency
   representatives, that no gaps existed on the Pipelines and there was no need for any
   repairs. 32 Yet in August 2017, Enbridge informed State officials that there were three
   small areas of bare metal exposed, and later was forced to acknowledge both that it
   had known of these coating gaps since 2014 and that some were apparently caused
   by Enbridge during the installation of pipe supports. 33 Subsequent inspections
   showed dozens more areas of coating damage. 34



   29 2003 Onyx Inspection Report, pp. 1 and 8.
   30 2014 Ballard Report, p. 9 (emphasis added).
   31 2017 Ballard Report, p. 9 (emphasis added).
   32 https://www .111.live.com/news/2017/03/enbridge line 5 delamination.html.
   33 https://wwv,, .freep .com/story/news/local/michigan/2017 /10/27 /enbridge-straits-pipeline-

   coating-michigan/807452001/. .
   34 https://www.freep.com/story/nevi1 s/local/michigan/2017 /11/14/enbridge-discloses-dozens-

   more-gaps-straits- mackinac-pip elines-protective-coa ting/863490001/.


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         Enbridge's course of conduct, by failing to undertake a detailed examination of
   the condition of the pipeline coating/wrap despite being on notice of the need to do so
   for 13-14 years, delaying disclosure to the State of several areas of bare metal for
   three years after initially denying such conditions existed, and only belatedly
   undertaking further inspections and repairs when demanded by the State, evidences
   a pattern of indifference to, and violation of, the conditions of Paragraph A.(9) of the
   Easement and its obligation to exercise due care.
                3.     Pipeline Curvature
          Paragraph A.(4) of the Easement includes a condition that "[t]he minimum
   curvature of any section of pipe shall be no less than two thousand and fifty (2,050)
   feet radius." This condition relating to pipeline curvature limits stresses placed on
   the Pipelines.
          The DNR requested documents and information relating in any way to
   Enbridge's efforts to ensure compliance with this condition, and Enbridge provided
   several GEOPIG Geometry Inspection Reports beginning in 2005. 35 The GEOPIG
   Reports do not refer to the pipe's radius curvature but rather record the diameter
   bend of the pipe. A diameter bend of 1230D feet is equivalent to a minimum curvature
   of 2,050 feet radius.
         Any diameter bend between OD and 1230D would violate the Easement
   standard. The GEOPIG Reports, however, only provide data on bends less than lO0D.
   Even with this limitation, the GEOPIG Reports identify 20 to 25 exceedances of the
   Easement's minimum pipe curvature requirement. 36 To the best of the DNR's
   knowledge, Enbridge has never documented to the State that it took any measures to
   ensure compliance with this Easement condition when the Pipelines were installed,
   or reported these exceedances to the State when Enbridge learned of them. Nor are
   there any records or evidence that the 2,050 feet radius standard of the Easement
   was ever waived or modified in writing by the State of Michigan.                 ·
         Enbridge ignored the pipeline curvature mandate of Paragraph A.(4) of the
   Easement, perhaps from the very beginning with installation of the Straits Pipelines.
   Noncompliance with the curvature condition continues today and remains
   uncorrected. This is contrary to the standard of due care imposed by the Easement
   and represents an ongoing, incurable violation of one of the Easement's fundamental
   terms and conditions.
                4.     Unreasonable Risks of Continued Operation of the Straits
                       Pipelines
         As discussed in Section LC above, the continued operation of the Straits
   Pipelines cannot be reconciled with the State's duty to protect the public trust

   35Enbridge Energy Limited Partnership, GEO PIG Geometry Inspection Reports (2005, 2016,
   2018, and 2019).
   36   Id.

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   resources of the Great Lakes from the risk of additional anchor strikes or other
   external impacts to the Pipelines, the inherent risks of pipeline operations, and the
   foreseeable, catastrophic effects of an oil spill in the Straits. These very same risks
   and concerns are contrary to and incompatible with Enbridge's obligation under the
   1953 Easement to exercise the due care of a reasonably prudent 'person.
          The threat of damage to the Straits Pipelines from anchor strikes and impacts
   by other external objects remains a clear and present danger. In its Report, Dynamic
   Risk identified anchor strikes as a "Principal Threat" to the Pipelines, and
   emphasized that these events are "increas[ing] in frequency" and "not influenced by
   mitigation measures." 37 As discussed in Section LC above, in April 2018, a
   commercial tug and barge vessel inadvertently dropped and dragged an anchor which
   struck and dented the Straits Pipelines at three locations. But this is not the most
   recent occurrence of a potential anchor strike causing damage to the Straits Pipelines.
          As also discussed in Section LC above, sometime in 2019, the east and west
   legs of the Pipelines were hit by external objects (cables or anchors) deployed from
   vessels operating near the Pipelines. The impacts resulted in severe damage to a
   pipeline support structure previously installed by Enbridge. The company did not
   discover the substantial damage done to the support structure until June 2020, and
   none of the detection, mitigation and protective measures employed by Enbridge
   since the April 2018 incident were effective in preventing or even timely detecting the
   2019 impacts and the damage to the Pipelines. Moreover, as discussed above,
   according to information provided by Enbridge, four of the five vessels that were
   potentially responsible for the damage disclosed in 2020 were operated by Enbridge
   contractors.
          In the face of the documented and recently demonstrated vulnerability of the
   Straits Pipelines to external impacts from anchors and other objects, and the
   complete failure of safety systems intended to mitigate such impacts, as well as the
   inherent threats to pipeline integrity from incorrect operations and procedural errors,
   Enbridge's continued operation of the Straits Pipelines is contrary to and
   incompatible with its affirmative duty under the Easement to "exercise the due care
   of a reasonably prudent person for the safety and welfare of all persons and of all
   private and public property." Under these circumstances, continued operation of the
   Straits Pipelines presents a substantial, inherent and unacceptable risk of a
   catastrophic oil spill with grave· ecological and economic consequences. Accord
   Michigan Tech Report, discussed supra, Section LC.
             C.     The December 19, 2018 Third Agreement Between Enbridge and
                    the State of Michigan Does Not Preclude Termination of the
                    1953 Easement
         As noted in Section LD above, the continued operation of the existing Straits
   Pipelines under the terms of the Third Agreement is expressly conditioned upon

   37   Dynamic Risk Report, pp. 2-35, 2-42 to -43.


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   Enbridge's compliance with the 1953 Easement. And, as outlined above, Enbridge
   incurably has violated and continues to violate the Easement.
          Section 4.2 of the Agreement addresses compliance with certain terms and
   conditions of the Easement discussed in this Notice:
         4.2   Provided that Enbridge complies with Section 4.1 above, the State
         agrees that:
                                                 ***

         (b)    Enbridge's compliance with Article 5 below demonstrates
                compliance with the specified conditions of the 1953 Easement.
                                                 ***

         (e)    Based on currently available information, the State is not aware
                of any violation of the 1953 Easement that would not be addressed
                and cured by compliance with Section 4.1 and Article 5 of this
                Agreement. (Emphasis added.)
          These provisions do not preclude termination of the Easement pursuant to this
   Notice for at least the following reasons. First, as noted above, Section 4.2 is
   conditioned on Enbridge's compliance with Section 4.1 of the Third Agreement, and
   Enbridge is not, and has not been, in compliance with that provision. Second, neither
   Section 4.2 nor Article 5 addresses in any way two of the terms and conditions of the
   Easement that form the basis of this Notice of Termination: the obligation to exercise
   due care and the condition on pipeline curvature in Paragraph A.(4). Third, the
   statement in Section 4.2(e)-that the State is not aware of any violation of the 1953
   Easement that would not be addressed and cured by compliance with Article 5-
   expressly provided that it was "based on currently available information," i.e.,
   information considered as of December 2018. Here, as noted above, beginning in 2019,
   the State undertook a systematic investigation and review of Enbridge's compliance
   with the Easement. It was through that subsequent review that the State has now
   identified the full scope of repeated past and continuing violations of the Easement
   that form the grounds for this Notice of Termination.
          Article 5 of the Third Agreement, which is referenced in Section 4.2, addresses
   two of the Easement conditions at issue here: Paragraph A.(9) concerning pipeline
   coatings (addressed in Section 5.2 of the Third Agreement) and Paragraph A.(10)
   concerning unsupported pipe spans (addressed in Section 5.3 of the Third
   Agreement). But the language of Sections 5.2 and 5.3 is limited and qualified in two
   important ways. First, as in Section 4.2(e), the statements in these provisions of
   ATticle 5 regarding compliance with the Easement are expressly qualified by
   reference to "currently available information":
         The State agrees, based upon currently available inforniation, that
         Enbridge's compliance with the requirements under this Section 5.2



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         satisfies the requirements of Paragraph A (9) of the 1953 Easement.
         (Section 5.2(d) (emphasis added).)
                                        ***
         The State agrees, based upon currently available information, that
         Enbridge's compliance with the requirements under this Section 5.3
         satisfies the requirements of Paragraph A (10) of the 1953 Easement.
         (Section 5.3(d) (emphasis added).)
   Again, as noted above, the full scope of violations of Paragraphs A.(9) and A.(10) of
   the Easement discussed in this Notice were identified through the State's recent
   review of Easement compliance. Moreover, the terms of Sections 5.2 and 5.3 were
   focused solely on actions to be taken prospectively regarding then current or potential
   future issues with pipeline coatings and unsupported pipe spans. They do not
   consider or address the longstanding pattern of Enbridge's violations of Paragraphs
   A.(9) and A.(10). Accordingly, the Third Agreement does not preclude the termination
   of the Easement for the reasons stated in this Notice. ·




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                                        Conclusion
           By this Notice, the State of Michigan is formally notifying Enbridge that the
    State is revoking and terminating the 1953 Easement. The Easement is being
    revoked for violation of the public trust doctrine, and is being terminated based on
    Enbridge's longstanding, persistent, and incurable violations of the Easement's
    conditions and standard of due care.
          ACCORDINGLY, the State of Michigan, for the legal and factual reasons
    stated herein:
       A. Revokes the 1953 Easement, effective 180 days after the date of this Notice to
          provide notice to affected parties and to allow. for an orderly transition to
          ensure Michigan's energy needs are met.

       B. Terminates the '1953 Easement, effective 180 days after the date of this Notice
          to provide notice to affected parties and to allow for an orderly transition to
          ensure Michigan's energy needs are met.

       C. Requires Enbridge to cease operation of the Straits Pipelines 180 days after
          the date of this Notice.

       D. Requires Enbridge to permanently decommission the Straits Pipelines in
          accordance with applicable law and plans approved by the State of Michigan.




   Gretchen Whitmer                                     Daniel Eichinger
   Governor                                             Director, Department of
                                                        Natural Resources


   Date: 11/13/20                                       Date: 11/13/20




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                           Exhibit I

                    1953 Easement
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 \.   i




                                 STRA.ITS OF MACKINAC Pl.PE I,Iml EASEMENT

                           OONSERVA~ION COMMISSION OF THE STA!l'E OF MIORIG.AE'
                                                    'l!O

                                   LAXEBEAD PIPE LINE COMPANY, INC.



                    THIS EASEMENT, executed this twenty-third day of April, A. D. 195:3, by

          the State of Michigan by the Conservli',tion Oomission, by- Wayland Osgood, Deputy

          Director, actiJJg under and pursuant to a resolution adopted by the Conservation

          OolJIIDission e.t its meetiJJg held on February 1:;, 195:3, and b;y- virtue of the author-

          ity co!)ferred by Act No. 10, p. A. t9539 hereinafter referred ~o as Gra.ntor, to

          Lakehead Pipe Line Company, -Inc., a Delaware corporation, of 510 22nd Ave~ue

          East, Superior, Wisconsin, hereinafter referred to as Grantee,




                    WHEREAS, application has been made b;y Grantee for an easement author-

          izing it to construct• lay and maintain pipe lines over, through, ,mil.er and

          upon certain lake bottom lauds ~elonging to the State of Michigan, and under
          the jurisdiction of the Department of Oonservation, located in the Straits of
          Mackinac, Michigan, !or the purpose o;f transporting petroleum fllld other ·pro-

          ducts; and


                   llHl!lBEAS, the Conservation Commission is of the opinion that the pro-

          posed pipe line system will be o;f benefit to all of the people of the Sta.ta

          of Michigan and in furtherance of the public welfare; and

                   WmmEAS, the Conservation Commission duly considered the applica-
          tion of Grantee and at its meeting held on the 13th dey of February, A• D.

          1953, approved the conveyanc.e of an easement.




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                 NOW, THEBEFO.RE, £or and in consideration of the sum of ~wo
        Thousand Four Hundred Fifty Dollars ($2,450.00), the receipt of which        is
        hereby acknowledged, and for and in consideration of the udertaltd.ngs of

        Grantee and subject to the terms and condiUons set forth hel'ain, Grantor

        hereby conveys a,nd quit claims, without warranty express or implied, to
        Grantee an easement to construct, ley, maintain, use and operate two (2)

        pipe lines, one to be located within each o:£ the two parcels o:f' bottom lands
        hereinafter d~scribed, end each to consist of twenty inch (20 11 ) OD pipe,

        together with anchors and other necessary appurtenances and fixtures, :£or
        the purpose of' transporting any material or substance which can be conveyed
        through a pipe line, over, through, under and upon the portion of the bottom
        lands of the Straits of Mackinac in the Sta.ta oi' Michigan., together with the

        right to enter upon said bottom· lands, described as follows:


                 All bottom'lands of the Straits of Mackinac. in the State
                 of Michigan, lying within an area of fifty (50) feet on
                 ea.ch side of the following two center lines:

                  (l) Easterliz:: Center ~ : :Beginning at a point on the
                 northerly shore line of the Straits of Mackinac on a
                 bearing of South twent;r-£our degrees, no minutes and thirty-
                . si:x seconds East (S 24° 00 1 36 11 E) and distant one thousand
                  seven hundred and twelve and eight-tenths :feet (1,712.8 9 )
                 from United States Lake Surlfey Triangnlation Station 11 Green11
                  {United States Lake Survey, Latitude 4S 0 SO' 00 11 , Longitude
                 84° 44 1 58 11 ), said point of 'beginning being the intersection
                 of the center line of a twenty inch (20 11 ) pipe line and the
                 said northerly shore line: thence, on a bearing of South
                 fourteen degrees thirty-seVen minutes and fourteen seconds
                 West (S 14a 37 1 1411 W) a distance of nineteen thousand one
                 hundred and forty-six and. no tenths feet (19,146.o') to a
                 point on the southerly shore line of the Straits of Mackinac
                 which point is the intersection of the said center line of
                 the twenty inch (20 11 ) pipe line and the said southerly
                 shore line: and is distant seven hundred and seventy-four
                 and seven tenths £eat ('774. 'i' 1 ) and on a. bee.ring of South
                 thirty-six degrees, eighteen minutes and £arty-five seconds
                 West (S :36° 18' 4,5 11 W) from United States Lake Suney Tri-
                 angulation Station 11 A. Mackinac West :Be.se 11 (United States
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                  Lake Survey, La.ti tu.de 45°   47 1   1411 , Longi tu.de 84°
                  46• 2211 ).

                   C2) ~resterl1 Center Line: :Beginning at a. point on the
                  northerly shore line of the Straits of Mackinac on a.
                  bearing of Sou.th forty-nine degrees, twenty-five minutes
                  and forty-seven seconds Ea.st (S l-1-9° 25'· 47 11 E) and dis-
                  tant two thousand. six hundred. and thirty-four and nine
                  tenths feet (2,634.9 1 ) from United States Triangulation
                  Station 11 Green11 (United States Lake Survey, Latitude
                  45° .50 I 00 11 , Longitude 84° 44 1 .58 11 ) said point of 'be-
                  ginning being the intersection of the center line of a
                  twenty inoh (20 11 ) pipe line a.nd the said northerly shore
                  line; thence on a bearing of South fourteen degrees,
                  thirty-seven minutes and fou~teen seconds West (S 14P
                  37 1 1411 W), a-distance of nineteen thousand four hundred
                  and sixty-five and no tenths feet (19,465.0 1 ) to a~oint
                  on the southerly shore line of the Straits of Mackinac
                  which point is the intersection of ·!;he said center line
                  of the twenty inch (20 11 ) pipe line and the ea.id southerly
                  shore line and is distant one thousand no hundred and
                  thirty-six and four tenths feet (lp0J6.4 1 ) on a bearing
                  of South sixty-three degroeso twenty minutes and fifty-
                  four seconds East (S 6-,0 20° S411 E) from United States
                  Lake Survey Triangulation Station 11 A. Mackinac West
                  Baae11 (United States Lake Survey, Latitude 4:J' 47 1 14 11 ,
                  Longi tu.de 84'> 461 2211) •


                  TO HA.VE .AND TO ROLD the said easement unto said Grantee, its
         successors and assigns, subject to the terms and conditions herein set

         forth, until terminated as hereine:f'ter provided.


                  This easement is granted subject t,o the following terms and
         conditions:


                  A.   Grootee in its exercise of rights under.this easement,
                  including its desigping, constructing, testing, operating,

                  maintaining, Md, in the event of the termination of this

                  easementP its abandoning of said pipe lines, shall follow

                  the usual, necessary and proper procedures for the t;ype of

                  operation involved, and at e.ll' times shall' exercise the due

                  ca.re 0£ a reasonably prudent person for the sai'ety and welfare
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                     of all :persons and of all public and private property,

                     shall comply wit+:,11 la~s of the State of Michigan and
                     of the Federal ilftermnent, unless Grantee shall be con-
                     testiJJg the same in good fa:Lth by appropriate ];lroceedings,

                     and, in addition, Grantee shall comply with the following
                     minimum specific~tionsD conditions and requirements, unless
                     compliance therewith is waived or the speci!icationa or

                     bonditions modified in writiDg by Gre.n,tor:

                          (1)   All pipe line laid in water up to fii't;v-

                          (50) feet in depth shall be laid in a ditch

                          with not less than fifteen {15) feet of cover.
                          ~he. ·cover shall taper off to zero ( 0) feet e.t

                          an approximate depth of sixt;r-:f'ive (6.5) feet.

                          Should it be discovered that the bottom material
                          is bard rock~ the ditch may be of lesser depth,

                          but still deep enough to protect the pipe lines.

                          against ice   and   anchor damage.

 I                        (2)   Minimum testirig specifications off th'e twenty
 I
'I                       · inch (2on·) OD pipe lines shall be not less that,,
 i
 !                        the following:

 II                       Shop !l!est-----1,700 pounds 1)81.' square inch        gauge
 I                        Asse1qbl'y !I'est-----1,500 pounds :per squa:re inch   gauge
                          InstaJ.lationTast--l,200 pounds :per square inch       gauge
                          Operating Pressure,. 600:pounds per square inch        gauge


                          (3)   All welded joints shall be tested by X-lui;ro




                                                      ._z,..
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                        (4)    The minimum curvature of any sect\. on of
                        pipe shall be no less than two thousand and

                        fifty (z.050) feet radius.

                        (5)    Automatic gas-opera~ed ~lmt-off valves

                        shall be installed and maintained on the north
                        end 0£ each line.


                        (6)    Automatic check valves she11 be installed

                        and lllaintained on the south ~nd of each line.


                        (7)    The elllJ;)ty pipe shall have a negative buoye.ncy

                        of thirty (30) or more pounds per linear foot.


                        (8)    Cathodic protection shall be installed to

                        prevent ~eter:1.oration of pipe.

                        (9) All pipe sh;al,l be protected by asphalt primer
                        coat, by inner wrap and outer wrap COIIIJ;)osed of

                        glass fiber fabric material. and one inch b;y £our

                        inoh (1 11 x 4 11 ) slats, prior to installation.


                        (10)    The maximum span or length of pipe unsupported

                        shall not exceed seventy-five       (7S)   £~et.


                        (11}    The pipe weight sba:1.1 not be less than one

                        hundred sixty (160) po'lll'.ldS per linear fo_ot.

                        (12) · The maximum c~rbon content of· the steel, from

~·
r
                        which the pipe is manu£actured, sball not be in

                        excess of_ • 247 per cent.




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                     (13)    In locations where t'Ul is usedp the top• of the
                     fill shall be no less than fifty (50) feet wide.

                     (14)    In respect to other specifications, the line
                     shal.l b~ constru.cted in co:a:f'orma:nce with the detailed

                     plans and specifications heretofore filed by Grantee
                     with Lands Divisionp Department of Conse:rvation of

                     the State of Michigen.

                B.   Grantee shall give timely notice to the Grantor in .,,:J.'iti:ng:

                     (1) Of the time and place for the colll!llencement of
                     construction over, through, under or upon the bottom
                     lands covered by this ea~ement, said notice to be

                     given at lea.st five (5) days in advance thereof:

                     (2)    Of compliance with any and all requirements of

                     the United States Coast Guard for marking the location
                     '.      . '    ,  \
                           '   '        I
                     of said ~ipe lines,

                     (3) Of the filling of said pipe lines with oil or
                     any other substance being transported commerially;

                     (4) · O:f eny breaks or leaks discovered by Grantee in
                     said pipe lines, said notice to be given by telephone
                     promptly upon discovery and therea.fter confirmed by
                                                        .              '

                     registered mail,




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                     {S) Of the completion of any repairs of said
                     pipe lines, and time of testing thereo£v said
                     no~ice to be given in sufficient time to per-
                     mit Grantor's authorized representatives to be
                     present a..t the inspection and. testing of the
                     pipe lines after said repairs; and

                     (6)   Of any   plan or intention of Grantee to
                     abandon said pipe lines, said notice to be
                     given at least sixty (60)'days prior to coinroence-
                     ment of abandonment operations.

                o. The easement herein conveyed may be terminated by
                Granter:

                     (1)   Ifv after beiDg    notified in writing by
                     Granter of any specifit;1d breach of the terns
                     and conditions of this easement, Grantee shall

                     fail to correct_ said breach within ninety (90)
                     days, orv having commenced remedial action within

                     such ninety (90) day period, •such later time as

                     ft is reasonably possible for the Grantee to cor-
                     rect said breach by appropriate action and the
                     exercise of due diligence in the correction thereof;
                     or




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                     (2)   If Grantee fails to start construction of
                     the pipe lines authorized-herein within two years
                     from date of execution of this instrument; or

                     (3)   If Grantee £ails for an:, oonseoutive three-
                     yea:r period to make substantial use of said pi-pe

                     lines colllJllercialJ,y and also fails to maintain said
                     pipe lines during said period in such condition as
                     to be available to. commercial use within thirty



               D,   Construction pf the pipe lines contemplated by this
                inst:rument shall not be comm!=nced until all necessary authori-

                zation and assent of the Corps of Engineers, United States
               Army, so far as' concerns the public rights of navigation,

                shall have been obtained~

               E.   In the event of any relocation, replacement, major repair,
                                I           •   '
               or abandonment of either of the pipe lines authorized by this
               easemento Grantee shall obtain Granto.r 1 s written approval a£
               procedures, methods and materials to be followed or used prior
                to oonunenoement thereofo

               F.   The ma:xiJl'llllll operating_pressur.e of either of said pipe lines
               shall not exceed six hundred (600) pounds :per square inch
               gauge~




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                      If. there is a break or leak or 8.J!. apparent break or
                leak in either of said pipe lines. or if Gra.ntor notifieJ
                Grantee that it has good and sut'fieien~ evidenc~ that
                there is or me;v be a break o·r leek therein. Grantee shall
                immediately and completely shllt down the pipe line involvecl
                and said pipe line shall not be placed in opeta.tion until
                                          '                    .

                Grantee has conducted a shut-in two (2) hour presilure t,est
                of six hundred (600) pounds per square inch gauge showing
                that no substance is e~caping h'om a break or leak in said
                pipe line.

                G.   If oil or other substance escapes from a break or leak in

                the said pipe lines, Grantee shall immediately- take all usual 0
                necessaey a,:id proper measures to eliminate any oi~ or other
                substance which me.y escape~

                Ho   In the event the easement herein conreyed is terminated
                with respect to either or both of said pipe lines, or i£ any
                part or portion of a pipe line is abandoned, Grent ee shall
                                  •   J                -



                take all of the u1111el, :necees~ey   end proper   abandonment pro-
                cedures as required E!lld. approved by- Grantor.    Said abandon-
                ment operatiQns sh8ll be CQmpleted to the satisfaction of
                Grantor within·one·~ear a.f't~r any abandonment of 9.D1' part
                _or p8rt:Lon of a pipe line; or in event of termination of this
                easement, within one ~ear thereafter.      After the expiration
                of one 7ear foliowiJJg the te:mina.tion of this easementp GrBJ1,ee




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                 shall at the option of Gra.ntor quit claim to the state of Michigan
                all of its right, title and interest in or to any pipe line, appurte-
                nances. or fixtures remaining over, through. tma.er or upon the bottom
                lands covered by this easement.     Abandonment procedures ~s used
                he~ein include all operations tha.t     Il!ay   ~e reasonably necessary to
                protect life and property from subsequent injuryo

                la Grantee shall pemit Grantor to inspect at reasonable times
                and places its records of oil.or aey other substance being trans-
                ported in said pipe lines and shall, on re~uest, submit to
                Grantor inspection reports coveri:ng the automatic shut-off and
                check valves and metering stations used in connection with the
                ~traits of Mackinac crossingo

                J.   (l) Grantee shall indemnify and hold harmless the State of
                Michigan from all damage or losses caused to propert~ (including

                property belonging to or held in trust by the State of Michig~),
                or persons due to or aris~ng out of the operations or actions of

                Grantee, its employees, .servant~ and agents hereunder•         Grantee

                shall place in effect prior to the construction of the pipe lines
                authorized by this easement and shall maintain in full force a.nd
                effect durl.:ng the life of this easement, and until Grantor has
                approved completion o~,abandonment operations, a Comprehensive

                :Bodily Injury and Prope:rty Damage Lia."bility policy, bond or surety,

                in fo:rm and substance acceptable to Grantor in the sum of at least

                One Million Dollars ·($1,000o000.00), covering the liability herein
                imposed upon Grantee.




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                      (2)   Gr8.D.te~~ prior to commencing construction of

                      the pipe lines autho~ized by this easement, shall

                      provide the State
                                     I
                                        of Michigan with a surety bond

                      in the penal sum 0£ One Hanel.red !l'housand Dollars
                      ($100,000~00) in form and substance acceptable to
                      Gra:ntorp e.nd. surety or sureties approved by Granter,
                      to well, truly and faithfully perform the terms,

                      conditions and requirements of this easement.     Said

                      bond shall be maintained in full force and effect
                      during the life of this easement and until Grantor
                      has approved completion of Grantee 1·s abandonment
                      operations.   Said bond shell not be reduced in amount
                      except with the written. ~onsent 0£ Granter.


                K.   Grantee shall within sixty (60) days therea:fter notify_ .

                Grantor in writing of e:n_y assignment of this easement.


                L. !l'he terms and conditions of this easement shall, be bind-
              . ing upon and iDllre to the benefit of the respective sucoessors

                and assigns of Grantor and Grantee.


               M.    All rights not specifically conveyed herein are reserved
                to the Sta.te 0£ Michigan.




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                   N.   Grantee shall not improvise, construct or maintain
                   ship-to-shore or ship-to-pipe line loading or unloading
                   facilities over. through, under or upon any 0£ the bottom
                   lands herein described.for the purpose of removing material
                   from or injecting :material into said pipe lineso

                   o.   Grantor shall have the right at all reasonable times
                   and places to inspect the pipe lines. appurtenances and
                   fixtures authorized by this ease~entQ

                  P.    It shall not be a breach of the terms     an(i   conditions
                   of this easement if £or operating or maintenance reasons
                  Grantee shall make use of only one of said pipe lines at
                   a timeo


                   ~.   Where provision is made he~ein that Grantee shall obtain
                   the authorization, approval or consent of GTantor, Gre.ntor
                  agrees that it will not unreasonably withhold the sameo

                  IN WI!rNESS WHEREOF, the State of lUohigan by the Oonserva.tion
        Co1nlllission, by Weyland Osgood, Depu.ty Director, aoti:ng pursuant to authority
         specifically conferred upon him. has caused this instrument to be executed
        this twenty-third day of April, A.D. 19536

        Signed, Sealed and Delivered,                  STA!l!E OF MIORlGAN
        in the Presence of:                            llY THE OONSERVA!rION COMMISSION

         /s/ Jane llowel'                              B":F_j_s/ Wayland. Osgood.
        Jane :Bower                                        Wayland Osgood. Deput~ Direetor.
                                                           pursuant to resolutions of the
                                                           Conservation Commission dated
         /s/ Elizabeth Soule                               Febl'll.a.:ry l'., 7 195:3 and July 10,
        Eliza.beth Soule                                   1951
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         STA!l'E OF MICHIGAN)
                             )       ss.
         COUNTY OF INGHAJ.1 )




                   On this twenty-third day of April. A,D. 195'.3, before me, a.

         Notary Fublic. in and for said county, personally appeared Wayland Osgood,
         Deputy Director, known by me to be the person who executed the within

         instrument and who, being duly sworn, deposes and says tba.t he is the duly
         appointed deputy director of the Conservation Commission and that he

         executed the within easement under authority specifically conferred upon

         him by law and by the Conseriration Commission at its meetings held on

         February 130 19.5'.3 and Jul;y 10, 19.510 and who acknowledged the same to be

         his free act and deed and the free aot and deed. of the State of Michigan

         by the Conservation Colllllli ssion, in whose behalf' he acts.




                                                    / s / C• R. B~hrys
                                               C. R. Humphrys, Notaxy Public, Ingham County, Michigan
                                               My Commission expires September 20, 1954
         Examined a.nd approved 4/23/53
         as to legal form and effectt


          IslR. Glen Dunn
         Assistant Attorney General




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                             EXHIBIT 3
                                                                                                       ••• I
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      THIRD AGREEMENT BETWEEN THE STATE OF MICIDGAN, MICIDGAN
   DEPARTMENT OF ENVIRONMENTAL QUALITY, AND MICIDGAN DEPARTMENT
   OF NATURAL RESOURCES AND ENBRIDGE ENERGY, LIMITED PARTNERSHIP,
   ENBRIDGE ENERGY COMPANY, INC., AND ENBRIDGE ENERGY PARTNERS, L.P.

           This Third Agreement is entered between the State of Michigan, the Michigan
   Department of Environmental Quality, and the Michigan Department of Natural Resources
   (collectively referred to herein as "the State"), AND Enbridge Energy, Limited Partnership,
   Enbridge Energy Company, Inc., formerly known as Lakehead Pipe Line Company, Inc., and
   Enbridge Energy Partners, L.P. (collectively referred to herein as ''Enbridge") concerning those
   segments of Enbridge's Line 5 pipeline (''Line 5") that are located within the State of Michigan.
   1bis Third Agreement results from, and is intended t9 fulfill, the parties' obligations under
   Paragraph I.G. of the Second Agreement between the State and Enbridge, entered October 3,
   2018 ("Second Agreement"), in which the parties· agreed to pursue further agreements to address
   Line S's crossing of the Straits of Mackinac ("Straits").

           WHEREAS, the Second Agreement affirms that the segments of Line 5 located within
   Michigan must be operated and maintained in compliance with all applicable laws that are
   intended to protect the public health, safety, and welfare and prevent pollution, impairment, or
   destruction of the natural resources of the State of Michigan, including the·unique resources of            ..
                                                                                                               '
   the Great Lakes, and requires specified measures to further protect ecological and natural
   resources held in public trust by the State of Michigan;

           WHEREAS, the Second Agreement remains in effect and the parties wish to supplement
   it pursuant to Paragraph I.G. of that Agreement by entering into this Third Agreement addressing
   the operation, ;replacement, and decommissioning of the existing Dual Pipelines at the Straits,
   conditioned upon and in conjunction with, an Agreement between Enbridge and the Mackinac
   Straits Corridor Authority ("Authority") to design, construct, operate, and maintain a utility
   tunnel at the Straits to accommodate a replacement for the Dual Pipelines and other utilities
   ("Tunnel Agreement");

         WHEREAS, on December 19, 2018, Enbridge and the Authority entered into the Tunnel
   Agreement.

          The Parties hereby agree as follows:




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   Article 1 Definitions and Interpretation

   1.1.   Definitions
          (a)    "1953 Easement" means the "Straits ofMacldnac Pipe Line Easement [granted by
                 the] Conservation Commission of the State of Michigan to Lakehead Pipe Line
                  Company, Inc. (Lakehead) executed April 23, 1953.
          (b)     ''Authority" means the Mackinac Straits Corridor Authority,
          ( c)   "Bare Metal" means any area on the Dual Pipelines where the metal pipe is
                 visually exposed and in direct contact with water.
          (d)    "Day" means a calendar day unless expressly stated to be a business day. In
                 computing any period of time under this Third Agreement, where the last Day
                 would fall on a Saturday, Sunday, or U.S._ federal holiday or Michigan state
                  holiday, the period shall run until the close of business of the next business day.
          (e)    "Dual Pipelines" means the 4.09-mile portion of Enbridge's Line 5 pipeline
                  consisting of two 20-inch diameter seamless pipelines that cross the Straits.
          (f)    "Enbridge Board of Directors" means the Enbridge Inc. Board of Directors.
          (g)     "Enbridge" means Enbridge Energy, Limited Partnership or its successors and
                  assigns.
          (h)    "Government Approval" means all pennissions, consents, approvals, certificates,
                 permits, licenses, agreements, registrations, notices, exemptions, waivers, filings,
                  and authorizations.(whether statutory or otherwise) required by law.
          (i)     "Heavy Crude Oil" means any liquid petroleum with an American Petroleum
                  Ins~itute gravity index of less than 22 degrees, including, but not limited to,
                  diluted bitumen.
          (j) .   "Line 5" means the Enbridge light crude and natural gas liquids pipeline that
                  extends from Superior, Wisconsin, through the Upper Peninsula of Michigan to
                 the Lower Peninsula of Michigan and then across the U.S.-Canada international
                  boundary to Sarnia, Ontario, Canada.
          (k)      "PPI'' means the Producer Price Index for Finished Goods published each year by
                  the U.S. Department of Labor, Bureau of Labor Statistics or any lawful successor
                  agency thereto.
          (1)     "Second Agreement" means the agreement entered on October 3, 2018 between
                  the State of Michigan, the Michigan Department of Environmental Quality, and
                  the Michigan Department of Natural Resources AND Enbridge Energy, Limited
                  Partnership, Enbridge Energy Company, Inc., and Enbridge Energy Partners, L.P.
          (m)     "State of Michigan" means the State of Michigan and the Departments of
                  Environmental Quality and NatUl'al Resources.
          (n)     "Straits of Macldnac" or "Straits" means that segment of water between the upper
                  and lower peninsulas of Michigan that connects Lake Michigan and Lake Huron.



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          (o)    "Straits Line 5 Replacement Segment" means that segment of 30-inch pipe that is
                 to be constructed, operated, and maintained within the Tunnel to connect to
                 Enbridge's existing Line 5 pipeline on either side of the Straits so as to serve as a
                 replacement to the Dual Pipelines.
          (p)    "Tunnel" has the meaning set forth in the description provided in Section 6.1 of
                 the Tunnel Agreement.
          (q)    "Tunnel Agreement" means the agreement entered into on December 19, 2018
                 between Enbridge and the Mackinac Straits Corridor Authority.

   1.2.   In this Third Agreement unless the context otherwise requires:
          (a)    the words "including," "includes," and "include" will be read as if followed by
                 the words "without limitation";
          (b)    the meaning of ''or" will be that of the inclusive "or," that is meaning one, some
                 or all of a number of possibilities;
          (c)    a reference to any Party includes each of their legal representatives, tmstees,
                 executors, administrators, successors, and permitted substitutes and assigns,
                 including any Person talcing part by way of novation;
          ( d)   a reference to this Third Agreement or to any other agreement, document, or
                 instmment includes a reference to this Third Agreement or such other agreement,
                 document or instrument as amended, revised, supplemented or otherwise
                 modified from time to time;
          (e)    a reference to any Governmental Entity, institute, association or body is: (i) if
                 that Governmental Entity, institute, association or body is reconstituted, renamed
                 or replaced or if the powers or functions of that Government Entity, institute,
                 association or body are transferred to another organization, a reference to the
                 rec~mstituted, renamed or replaced organization or the organization to which the
                 powers or functions are transferred, as applicable; and (ii) if that Governmental
                 Entity, institute, association or body ceases to exist, a reference to the
                 organization which serves substantially the same purposes or objectives as that
                 Governmental Entity, institute, association or body;
          (f)    words in the singular include the plural (and vice versa) and words denoting any
                 gender include all genders;
          (g)    headings are for convenience only and do not affect the interpretation of this
                 Third Agreement;
          (h)    a reference to this Third Agreement includes all Schedules, Appendices, and
                 Exhibits;
          (i)    a reference to a Section or Schedule is a reference to a Section or Schedule of or
                 to the body of this Third Agreement;
          U)     where any word or phrase •is given a defined meaning, any other part of speech or
                 other grammatical form of that word or phrase has a corresponding meaning.




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   Article 2 Representations

   2 .1.  Authority - Signatories for each Party represent that they have authority to enter into this
   Third Agreement.

   Article 3 Relationship to Tunnel Agreement

   3.1     Agreements Mutually Dependent-This Third Agreement is premised upon the existence,
   continued effectiveness of, and Enbridge's compliance with the Tunnel Agreement, under which
   Enbridge is required to design, construct, and operate and maintain the Tunnel to accommodate
   the Straits Line 5 Replacement Segment that will replace the Dual Pipelines.

   Article 4 Continued Operation of Dual Pipelines Pending Completion of Tunnel and Activation
   of Line 5 Replacement Segment

   4.1     The State agrees that Enbridge may continue to operate the Dual Pipelines, which allow
   for the functional use of the current Line 5 in Michigan, until the Tunnel is completed, and the
   Straits Line 5 Replacement segment is placed in service within the Tunnel, subject to Enbridge's
   continued compliance with all of the following:
           (a)     The Second Agreement;
                                                                                                         !.
           (b)     The Tunnel Agreement;                                                                 \ .·

           (c)     This Third Agreement;                                                                 ! .

           (d)     The 1953 Easement; and
           (e)     All other applicable laws, including those listed in Section V of the Second
                   Agreement.

   4.2    Provided that Enbridge com.plies with Section 4.1 above, the State agrees that:
          (a)    The work done and to be done at the water crossings pursuant to the Second
                 Agreement adds protections to the health, safety, and welfare of Michiganders
                 and increases protection for Michigan's environment and natural resources.
          (b)    Enbridge's compliance with Article 5 below demonstrates compliance with the
                 specified conditions of the 1953 Easement.
          (c)    The replacement of the Dual Pipelines with the Straits Line 5 Replacement
                 Segment in the Tunnel is expected to elim.inate the risk of a potential release from
                 Line 5 at the Straits;                                          ·
          (d)    In entering into this Third Agreement, and thereby authorizing the Dual Pipelines
                 to continue to operate until such time that the Straits Line 5 Replacement Segment
                 is placed into service within the Tunnel, the State has acted in accordance with
                 and in furtherance of the public's interest in the protection of waters, waterways,
                 or bottomlands held in public trust by the State of Michigan.




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         (e)    Based on currently available information, the State is not aware of any violation
                of the 1953 Easement that would not be addressed and cured by compliance with
                Section 4.1 and Article 5 of this Agreement.

   4.3   Additional measures to assure integrity of Dual Pipelines:
         (a)    Enbridge will implement an enhanced inspection regime for the Line 5 Dual
                Pipelines beginning in 2024 or sooner as specified in Appendix 1, attached to his
                Third Agreement, and continuing while the Line 5 Dual Pipelines are still in use.
                If the Line 5 Dual Pipelines are still in use in 2026, Enbridge will conduct a
                hydrotest (or an equally reliable alternative technology for confirming integrity
                and material strength) of the Line 5 Dual Pipelines unless the Tunnel and the
                Straits Line 5 Replacement Segment are expected to be completed and operational
                on or before December 31, 2026. Reports of the inspections will be made
                available to the State of Michigan for review. The inspection regime as described
                will be used to evaluate whether agreed upon technical criteria are being met.
                The enhanced inspection regime and the agreed upon criteria are specified in
                attached Appendix 1.
         (b)    Enbridge agrees that it will not assert that these additional measures required
                under this Third Agreement or the measures regarding Line 5 water crossings
                other than the Straits requfred under Paragraph I.I. of the Second Agreement are
                preempted by federal law or otherwise unenforceable,

   Article 5 Compliance with 1953 Easement

   5.1   Financial Assurance:
         (a)    Until the Dual Pipelines are permanently decommissioned, Enbridge will
                maintain compliance with the requirements of Paragraph I.J of the Second
                Agreement, supplemented and modified as follows:
                (i)     The $1,878,000,000 minimum amount will be annually adjusted for
                        inflation based on the PPI on October 1, 2019 and each year thereafter.
                (ii)    Enbridge will file with the State updated financial assurance information
                        on an annual basis in a format consistent with Appendix 3 to the Second
                        Agreement, beginning thfrty (30) days after the effective date of this Third
                        Agreement.
                (iii)   Enbridge will promptly notify the State in writing of any material change
                        concerning the :financial assurance information provided under Section
                        5.l(a)(ii). A material change shall be any change in the financial status of
                        Enbridge that may prevent Enbridge from complying with Section
                        5,l(a)(i).




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         (b)    The State agrees that if Enbridge meets the requirements under Section 5.1 (a) of
                this Third Agreement, Enbridge will be deemed to satisfy its financial assurance
                obligations specified under Paragraph J of the 1953 Easement.

   5.2   Pipeline Coatings:
         (a)    Enbridge is committed to completing the implementation of the State-approved
                plan for visual inspection of pipeline coatings at all locations on the Dual
                Pipelines where screw anchor supports have been installed. Enbridge will
                promptly repair the coating at any and all locations where Bare Metal is identified
                as a result of such visual inspection. Enbridge will talce all reasonable efforts to
                complete implementation by October 30,2019.
         (b)    Enbridge will, not later than March 31, 2019, submit to the State for review and
                approval, a work plan to, in conjunction with the Close Interval Surveys required ·
                under Section I.D of the Second Agreement, visually inspect pipeline coatings at
                sites to be specified in the work plan along the Dual Pipelines and to repair the
                coating at any and all sites where Bare Metal is identified. The work plan will
                include a proposed implementation schedule. Enbridge will implement the State-
                approved plan in accordance with the approved schedule.
         (c)    If at any time, any other area(s) of coating damage along the Dual Pipelines where
                Bare Metal exists is identified, Enbridge will repair the identified area(s) as soon
                as practicable thereafter. Enbridge will notify the State within thirty (30) days
                after any Bare Metal is identified, and again thirty (30) days after the Bare Metal
                is repaired.
         (d)    The State agrees, based upon currently available information, that Enbridge's
                compliance with the requirements under this Section 5 .2 satisfies the requirements
                of Paragraph A (9) of the 1953 Easement.

   5.3   Maximum Span of Unsupported Pipe:
         (a)  Based upon currently available information, there are no locations along the Dual
              Pipelines where the span or length of unsupported pipe exceeds the seventy-five
              (75) feet maximum specified in Paragraph A (10) of the 1953 Easement.
         (b)  Until the Dual Pipelines are permanently decommissioned, Enbridge will continue
              to visually inspect the Dual Pipelines at least every two (2) calendar years to
              verify that no unsupported spans exceed the specified maximum. If at any time
              an unsupported span exceeding the maximum is identified, Enbridge will, within
              thirty (30) days after receiving the final report from the third-party contractor
              performing such inspection where a span exceedance is identified, submit to the
              State for review and approval, a work plan to promptly eliminate the exceedance
              through installation of additional anchor supports or other suitable means.
              Enbridge will implement the work plan as soon as practicable after receiving all


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                  necessary federal or State permits or approvals required to conduct work to
                  eliminate the exceedance.
          (c)     As additional means of preventing exceedances of the maximum span, Enbridge
                  will continue to implement the span management measures included in the federal
                  Consent Decree, as amended, while the federal Consent Decree remains in effect.
          (d)     The State agrees, based upon currently available information, that Enbridge's
                  compliance with the requirements under this Section 5.3 satisfies the requirements
                  of Paragraph A (10) of the 1953 Easement.

   Article 6 Construction and Operation of Straits Line 5 Replacement Segment

   6.1  Enbridge will design, construct, operate, and maintain the Straits Line 5 Replacement
   Segment within the Tunnel:
         (a)    At its own expense; and
         (b)    In compliance with all applicable laws and regulations and the terms of the
                Tunnel Agreement and the Tunnel Lease to be issued by the Authority under the
                Tunnel Agreement.
         (c)    Nothing under this Third Agreement shall be construed to provide the State with
                authority over the design, operation, or maintenance of the Straits Line 5
                Replacement Segment.

   6.2   Enbridge will not transport Heavy Crude Oil through the Straits Line 5 Replacement
   Segment.

   6.3    When Enbridge ceases use of the Straits Line 5 Replacement Segment, it will
   permanently deactivate the Straits Line 5 Replacement Segment in compliance with all
   applicable laws and regulations and Section 3.3 of the Tunnel Lease.

   Article 7 Permanent Deactivation of Dual Pipelines

   7 .1    Enbridge agrees that as soon as practicable following completion of the Tunnel and after
   the Straits Line 5 Replacement Segment is constructed and placed into service by Enbridge,
   Enbridge will cease operation of the Dual Pipelines and permanently deactivate the Dual
   Pipelines.




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   7.2.    Consistent with Paragraphs E, H, and Q of the 1953 Easement, the procedures, methods,
   and materials for replacement, relocation, and deactivation of the Dual Pipelines are subject to
   the written approval of the State, which the State agrees shall not be unreasonably withheld. At a
   minimum, any portion of the Dual Pipelines that remains in place after deactivation shall be
   thoroughly cleaned of any product or residue thereof and the ends shall be permanently capped
   to the satisfaction of the State, which shall not be unreasonably withheld.

   7.3     The State and Enbridge agree that decisions regarding the method of deactivation,
   including potential removal of the Dual Pipelines should take into account short- and long-term
   effects of the deactivation method options and associated sediment and water quality disturbance
   on natural resources, particularly :fishery resources, in proximity to the Straits. The options
   include: (a) abandoning in place the entire length of each of the Dual Pipelines; or (b) removing
   from the Straits the submerged portions of each of the Dual Pipelines that were not fully buried
   in a ditch and placed under cover near the shoreline of the Straits at the time of initial
   construction.

   Article 8 Delay Events

   8 .1    Enbridge' s performance under this Third Agreement shall be excused as a result of any
   Delay Event. For purposes of this Third Agreement, "Delay Event" is defined as any event
   arising from causes beyond the control of Enbridge, any entity controlled by Enbridge, or any of
   Enbridge's contractors, that delays or prevents the performance of any obligation under this
   Third Agreement, despite Enbridge's best efforts to fulfill the obligation. "Best efforts to fulfill
   the obligation" includes using best efforts to address the effects of any such event: (a) as it is
   occurring; and (b) following its occurrence, such that the delay and any adverse effects of the
   delay are minimized.

   8.2   Automatic Delay Events - The Parties agree that the following circumstances
   automatically constitute a Delay Event:
         (a)      The inability to undertake activities required under this Third Agreement due to
                  the need to obtain a Government Approval or other legal authorization required to
                  undertake such activities.
         (b)      Acts of God, war, terrorist acts, pandemics, strikes, civil disturbances, and other
                  causes beyond the reasonable control of Enbridge,
         (c)      Unavailability of necessary materials or equipment because of industry-wide
                  shortages.
         (d)      An injunction or other judicial or govemmental order preventing the timely
                  performance of the obligation.




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   8.3     Other Delay Events - The Parties further agree that any other circumstance included
   within the definition of Delay Event in Section 8.1 may on a case-by-case basis be determined by
   Enbridge and the State to constitute a Delay Event.

    8 .4   Notice - If a Delay Event occurs, Enbridge will notify the State of the Delay Event within
    a reasonable time after Enbridge is aware that a Delay Event has occurred. The notice will
    describe the Delay Event, the anticipated duration of the Delay Event, if known, and the efforts
    taken by Enbridge to minimize the delay and any adverse effects of the delay.

   8.5    Disputes - Any dispute between the Parties relating to the existence or duration of a
   Delay Event will be resolved in accordance with Article 9, Dispute Resolution.

   Article 9 Dispute Resolution

   9 .1   Except as otherwise specified in this Third Agreement, the Parties agree to the following
   procedures to resolve all disputes between them arising under this Third Agreement.

   9.2    Informal Dispute Resolution - First, designated representatives of the Parties will engage
   in good faith efforts to informally resolve the dispute for a period ofup to sixty (60) days,
   provided that the Parties may mutually agree in writing to extend that period.

   9.3     Optional Mediation - If the dispute is not resolved informally though Section 9.2, the
   Parties may, though mutual written agreement, select a neutral mediator to facilitate the
   resolution of the dispute. Unless otherwise agreed, the parties will equally share the costs of the
   mediator's services.

   9.4      Judicial Dispute Resolution - If the dispute is not resolved informally though Section 9.2,
   or, if applicable, through Section 9.3, either Party may submit the dispute to a court of competent
   jurisdiction for resolution.

   Article 10 Termination

   10.1 Term. This Third Agreement shall remain in effect until such time that the Dual
   Pipelines are decommissioned, unless terminated in accordance with 10.2 or 10.3 below.

   10.2 Termination by the State. The State may terminate this Agreement if: (i) after being
   notified in writing by the State of any material breach of this Agreement, Enbridge fails to
   commence remedial action within ninety (90) days to correct the identified breach or fails to use
   due diligence to complete such remedial action within a reasonable time thereafter; (ii) the
   dispute resolution procedures of Article 9 are followed with respect to the breach; and (iii) the
   :final judicial resolution of the dispute is in favor of the State's position that the Agreement
   should be terminated.



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         10.3   Termination by Enbridge. Enbridge may te1minate this Agreement:
                (a)   By written notice to the State if: (i) Enbridge has involuntarily ceased operation
                      of the existing Line 5 Dual Pipelines as a result of a court order or at the direction
                      of a Governmental.Entity at any point during the design or construction of the
                      Tunnel; or (ii) Enbridge has voluntarily chosen to permanently cease operations
                      on the existing Line 5 Dual Pipelines at any point during the design or
                      construction of the Tunnel;
                (b)   If: (i) after being notified in writing by Enbridge of any material breach by the
                      State of this Agreement, which shall include but not be limited to any
                      unreasonable impairment by the State of Enbridge' s ability to construct the
                      Tunnel or construct, operate, and maintain the Straits Line 5 Replacement
                      Segment within the Tunnel in accordance with the Tunnel Agreement and the
                      Lease, the State has failed to commence remedial action within ninety (90) days
                      to correct the identified breach or impairment or failed to use due diligence to
                      complete such remedial action within a reasonable time thereafter; (ii) the dispute
                      resolution procedures of Article 9 are followed with respect to the breach; and
                      (iii) the final judicial resolution of the dispute is in favor of Enbridge's position
                      that the Agreement should be terminated.

         10.4 Survival.

         The assurances provided in Section 4.2 above shall survive in the event of termination of this
         Third Agreement, under Sections 10.3(b) and (c).

         Article 11 Amendment

         This Third Agreement may be amended only through written agreement executed by authorized
         representatives of both Parties.

         Article 12 Notices

         12.l    Unless otherwise agreed to by the Parties, all notices, submissions, or communications
         required under this Agreement must be in writing and served either by personal service, by
         prepaid overnight courier service or by certified or registered mail to the address of the receiving
         Party set forth below (or such different address as may be designated by such Party in a notice to
         the other Party, from time to time). Notices, consents, and requests served by personal service
         shall be deemed served when delivered. Notices, consents, and requests sent by prepaid
         overnight courier service shall be deemed served on the day received, if received during the
         recipient's normal business hours, or at the beginning of the recipient's next busjness day after
         receipt if not received during the recipient's normal business hours. Notices, consents, and
         requests sent by ce1tified or registered mail, return receipt requested, shall be deemed served ten
         (10) business days after mailing.



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    As to the State of Michigan:

           Attn: Deputy Director
           Michigan Department of Environmental Quality
           525 W. Allegan
           Post Office Box
            Lansing, MI 48909-7528

            Attn: Natural Resource Deputy
            Michigan Department of Natural Resources
            525 W. Allegan
            Post Office Box 30028
            Lansing, MI 48909-7528

    As to Enbridge:

           Attn: Vice President of US Operations, Liquids Pipelines
           7701 France Avenue South, Suite 600-Centennial Lakes Park I
           Edina, MN 55435

           With a copy to Corporate Secretary
           5400 Westheimer Court ·
           Houston, TX 77056

           With a copy to Director of Great Lakes Region
           222 Indianapolis Blvd., Suite 100
           Schererville, IN 463 75

           With a copy to Associate General Counsel U.S. Law
           26 East Superior Street, Suite 309
           Duluth, MN 55802
           And an emailed copy to legalnotices@enbridge.com

    12. 2 Notice of any change by a Party of the designations or addresses listed in Section 12.1
    above will be promptly provided to the other Party.,_




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    Article 13 No Third-Party Beneficiaries

   13.1 This Third Agreement is intended for the exclusive benefit of the Parties hereto and their
   respective successors. Nothing contained in this Third Agreement shall be construed as creating
   any rights or benefits in or to any third party. This Third Agreement does not give rise to a
   private right of action for any person other than the Parties to this Third Agreement.

   Article 14 Miscellaneous

   14.1 Approvals under this Third Agreement- Each Party agrees that whenever this Third
   Agreement provides for it to approve, concur with, or jointly act with the other Party, such
   approval, concurrence, or joint action will not umeasonably be withheld.

   14.2 Good Faith - The Parties agree to act in good faith in the interpretation, execution,
   performance, and implementation of this Third Agreement.

    14.3   Execution. This Third Agreement may be executed in counterparts without the necessity
   that the Parties execute the same counterpart, each of which will be deemed an original, but
   which together will constitute one and the same agreement. The exchange of copies of this
   Tunnel Agreement by electronic or hard-copy means shall constitute effective execution and
   delivery thereof and may be used in lieu of the original for all purposes.

   14.4 Governing Law. This Third Agreement shall be construed, interpreted, and applied in
   accordance with the laws of the State of Michigan without reference to its conflict of laws rules.

   14.5 Entire Agreement. This Third Agreement and Schedules hereto, contain all covenants
   and agreements between the State and Enbridge relating to the matters set forth in this Third
   Agreement.

   14.6 Severability. If any provision of this Agreement will be held illegal, invalid, or
   unenforceable by a court of competent jurisdiction, the same will not necessarily affect any other
   provision or provisions herein contained or render the same invalid, inoperative, or
   unenforceable, and the Parties will expeditiously negotiate in good faith in an attempt to agree to
   another provision or provisions (instead of the provision which is illegal, inoperative or .
   unenforceable) that is legal, operative, and enforceable and carries out the Parties' intentions
   under this Agreement.




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    Article 15 Assignment

    15.1 Either Party may assign, charge, or transfer its rights or obligations under this Third
    Agreement provided that it obtains the written consent of the other Party.


    FOR THE STATE OF MICHIGAN



    Name: Rick Snyder /
    Title: Governor l.~)                   --//J
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    Dated:          I .,...,                        /)

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    N);1.1n . Keith Creagh -           t.,'/
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    Title: Director, Mi~gan _9.epartment of Natural Resources
    Dated:       /2.../ /:5' .,-2~?-' /g
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     a. r1£d: · ~L&J
    Name: C. Heidi Grether
    Title: Director, Michigan Department of Environmental Quality
    Dated:      /4:9, /8. /e>




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          FOR ENBRIDGE ENERGY1 LIMIIBD PARTNERSHIP
          BY: ENBRIDGE PIPELINES (LAKEHBAD) L.L.C.
          AS MANAQl G G NERAL PARTNER


         No e:Brad Sbnmla·
         Title: Vice President, U.S. Operations
         Doted:       /·z/t'2 I{2.a ,a


         Name: John Swanson
         Title: Vice PJ:esident, Majo1• Projects, Execution
         Dated: IZ Ot!'.,. #/tF



         N1u11e: Al Monaco
         Title: Antbo.J;iied Signntory for Enbridge Pipelines (Lnkehead) L,L,C.
         Dated:     P   4   c        ,..~   z~ /ff"

                        GE ENERGY COMPANY, INC,
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         N 1e: Brad Shamla
         Title: Vice Presldent, U.S. Operations
         Dated:       1·2, /19  /w
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        Name:John Swanson
        Title: Vice Presk{enti Majol' P1·0Jeots, Execution
        Dated:        1/4-✓ .;Jp/lf7
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        FOR ENBRIDGE ENERGY PARTNERS, L.P.
        BY: ENBRIDGE ENERGY MANAGEMENT, L.L.C;
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        ASD~ITSG~PARTNER
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        Nanfe: Brad Shamla
        Titie: Vice President, U.S. Operations
        Dated:      n../1Q {Zol0


       ~LO~
       Name: John Swanson
       Title: Vice President; Major Projects~ Execution
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                                       Appendix 1
. Enbridge Dual Pipelines Inspection and Operational Requirements Through Decommissioning
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Enbridge Line 5 Dual Pipelines Crossing the Straits of Mackinac                                                                                          December 13, 2018
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Visual Inspection                       §195.412 Inspection of rights-of-way and        Subsection VILE., Paragraphs 68.c. and 68.f.         Starting in 2024, visual
                                        crossings under navigable waters; inspect       require visual inspection of the pipelines by        inspection (ROV, AUV) of
                                        surface conditions at intervals not             July 31, 2016 and at intervals not to exceed 24      the lines once per calendar
                                        exceeding 3 weeks, but at least 26 times        months thereafter until termination of the           year, completed by July 31.
                                        each calendar year; except for offshore         Consent Decree.
                                        pipelines, inspect each crossing under a
                                        navigable waterway to determine the
                                        condition of the crossing at intervals not
                                        exceeding 5 years
Span Management Program                 §195.110 External Loads- Provide                Current requirements are set forth under              Consistent with Consent
                                        support for anticipated external loads;         Subsection VILE., Paragraph 68, and any              Decree requirements and
                                        supports must not cause excess localized        modification thereto.                                to begin when Consent
                                        stresses                                                                                             Decree ends.

Pipeline Movement Investigation                                                         If a crack feature requiring repair is identified,    Consistent with Consent
                                                                                        Subsection VII.E., Paragraph 72 requires an          Decree requirements and
                                                                                        investigation to determine whether the cause         to begin when Consent
                                                                                        of cracking is related to pipeline movement; if      Decree ends.
                                                                                        so, Enbridge must develop and complete
                                                                                        corrective measures as soon as practicable,
                                                                                        but no later than 270 days after completing
                                                                                        the investigation.
Quarterly Inspection Using                                                              Subsection VILE., Paragraph 73 requires               Consistent with Consent
Acoustic Leak Detection Tool                                                            quarterly inspection using an acoustic Ill tool      Decree requirements and
                                                                                        capable of detecting small leaks and, if a leak      to begin when Consent
                                                                                        is found, requires shutdown,rsolation and            Decree ends.
                                                                                        repair of the leaking line




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 The May 2017 Consent Decree, as referenced herein, refers to the Consent Decree entered in United States v. Enbridge Energy, Umited Partnership, et al., No. l:16-cv-914, ECF
No. 14 {E.D. Mich.) on entered May 23, 2017, and any modifications thereto.
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Enbridge Line 5 Dual Pipelines Crossing the Straits of Mackinac                                                                                December 13, 2018
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Pressure Testing                   §195.4520)(5)(ii) - Pressure test             Subsection VII.C. requires submittal of testing   Conduct hydrostatic
                                   conducted in accordance with 49 CFR           plan and schedule to US EPA and sets out          pressure test or equally
                                   Part 195, Subpart E is an acceptable          specific test procedures; hydrostatic pressure    reliable alternative
                                   Integrity Assessment method                   testing of the Line 5 Dual Pipelines was          technology to confirm
                                                                                 successfully completed in 2017                    pipeline integrity and
                                                                                                                                   material strength in 2026
Cathodic Protection                §195.571- Cathodic protection must                                                              Starting in 2024, maintain
                                   comply with NACE SP 0169, which                                                                 cathodic protection levels
                                   requires protection levels of-850 mV                                                            at or below -950 mV (CSE)
                                   (CSE)
Close Interval Survey                                                                                                                Starting in 2024, conduct
                                                                                                                                     CIS once every year, not to
                                                                                                                                     exceed 15 months
Integrity Assessment Intervals     §195.4520)(3) - Five years, not to exceed     Subsection VII.D.(VI) - For crack inspections,      Starting in 2024, annual
                                   68 months                                     no more than one-half of the shortest               geometry, corrosion and
                                                                                 remaining life of any unrepaired crack feature;     circumferential crack
                                                                                 for corrosion inspections, no more than one-        inspections and
                                                                                 half of the shortest remaining life of any        . assessments, using best
                                                                                 corrosion feature; no more than five years          available technology.
Temporary Pressure Reduction or   §195.452(h)(1)(i) and (ii) - Pressure          Subsections VII.D.(111), (IV) and (V) establish      Consistent with Consent
Pipeline Shutdown                 reduction based on calculated safe             requirements and timing for identification of       Decree requirements and
                                  operating pressure of anomaly or, if this      ILi report features requiring excavation based      to begin when Consent
                                  cannot be calculated, 80% of the highest       on calculated burst pressure, remaining life,       Decree ends.
                                  sustained operating pressure in the 60         and other unique characteristics, and for
                                  days prior to the ILi; use to provide safety   establishing pressure restrictions to provide
                                  for Immediate Repair Conditions and            safety until digs and repairs are complete
                                  other repairs for which schedules cannot
                                  be met; notify PHMSA if pressure
                                  reduction will exceed 365 days
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Enbridge Line 5 Dual Pipelines Crossing the Straits of Mackinac                                                                               December 13, 2018
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Schedules for Evaluation and         See below                                  Subsection VII.D.(V} sets out criteria and          Consistent with Consent
Remediation of Ill-indicated                                                    timelines governing excavation, repair and         Decree requirements and
Anomalies                                                                       imposition of pressure restrictions for crack      to begin when Consent
                                                                                features (Table 1, pp 55-56), corrosion            Decree ends.
                                                                                features (Table 2, pp 60-62), dents and other
                                                                                geometric features (Table 4, pp 67-68), and
                                                                                intersecting or interacting feature types {Table
                                                                                5, pp 70-71)
•   Metal loss greater than 80% of   §195.452(h)(4)(i)(A}- Immediate Repair                                                        Starting in 2024,
    nominal wall regardless of       Condition                                                                                     immediate Repair
    dimensions                                                                                                                     Condition and pipeline
                                                                                                                                   shutdown
•   Metal loss greater than 50% of                                                                                                 Starting in 2024,
    nominal wall regardless of                                                                                                     immediate Repair
                                                                        New Requirement
    dimensions                                                                                                                     Condition and pipeline
                                                                                                                                   shutdown
•   Calculated burst pressure less   §195.452(h)(4)(i)(B)- Immediate Repair                                                        Starting in 2024,
    than established maximum         Condition - Suitable remaining strength                                                       immediate Repair
    operating pressure (MOP) at      calculation methods include, but are not                                                      Condition and pipeline
    anomaly location                 limited to, ASME/ANSI 831G and PRCI PR-                                                       shutdown
                                     3-805 (R-STRENG}
•   Dents                            §195.452(h)(4)(i)(C)- Immediate Repair                                                        Starting in 2024,
                                     §195.452(h)(4}(i)(D}- Immediate Repair                                                        immediate Repair
                                     §195.452(h)(4)(i)(E) - Immediate Repair                                                       Condition and pressure
                                     §195.452{h)(4}(ii)(A)- 60-day Repair                                                          restriction of 80% of last
                                     §195.452{h)(4)(ii)(B) - 60-day Repair                                                         60-day high pressure.
                                     §195.452{h}{4)(iii)(A) -180-day Repair
                                     §195.452(h)(4)(iii)(B)-180-day Repair
                                     §195.452(h)(4)(iii)(C}-180-day Repair
•   Calculated safe operating        §195.452(h}{4}(iii)(D)-180-Day Repair                                                         Starting in 2024,
    pressure less than established   Condition - Suitable remaining strength                                                       immediate Repair
    MOP at anomaly location          calculation methods include, but are not                                                      Condition and pipeline
                                     limited to, ASME/ANSI 831G and PRCI PR-                                                       shutdown
                                     3-805 (R-STRENG)
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•   An area of general corrosion       §195.452(h)(4)(iii)(E) -180-Day Repair                                                       Starting in 2024,
    with a predicted metal loss        Condition                                                                                    immediate Repair
    greater than 50% of nominal                                                                                                     Condition and pipeline
    wall                                                                                                                            shutdown
•   Predicted metal loss greater       §195.452(h)(4)(iii)(F)-180-Day Repair                                                        Starting in 2024,
    than 50% of nominal wall that      Condition                                                                                    immediate Repair
    is located at a crossing of                                                                                                     Condition and pipeline
    another pipeline, or is in an                                                                                                   shutdown
    area with widespread
    circumferential corrosion, or is
    in an area that could affect a
    girth weld
•   A potential crack indication       §195.452(h)(4)(iii){G) -180-Day Repair                                                       Starting in 2024,
    that when inspected is             Condition                                                                                    immediate Repair
    determined to be a crack                                                                                                        Condition and follow
                                                                                                                                    Consent Decree
                                                                                                                                    requirements for crack
                                                                                                                                    remediation
•   A gouge or groove greater          §195.452(h){4)(iii)(l)-180-Day Repair                                                        Starting in 2024,
    than 12.5% of nominal wall         Condition                                                                                    immediate Repair
    thickness                                                                                                                       Condition
•   Anomalies in addition to those     §195.452(h}(4)(iv) - Other Repair                                                            Follow PHMSA
    listed above that could impair     Conditions - schedule for remediation as                                                     requirements
    the integrity of the pipeline      appropriate (per engineering analysis);
                                       see §195.452 Appendix C for guidance
                                       concerning other conditions to evaluate


Immediate Repair Condition - Upon learning of an immediate repair condition indicated by in-line inspection, Enbridge agrees to make the condition safe by
operating pressure reduction or pipeline shutdown (see Inspection and Operational Requirements Table), and to notify the State of the condition within 24
hours. Enbridge will proceed with planning, permitting, inspection, and necessary repair of the condition as expeditiously as practicable subject to permitting
requirements and weather/ice conditions in the Straits of Mackinac. Once the feature is fully assessed, repaired or mitigated, Enbridge will notify the State and
may return the pipeline to normal operating pressures.
